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8/5/2021 Created By: Pauline; Bauer, a living woman
Created For PAULINE BAUER-VESSEL

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

COLOR OF LAW AGENCY So Named:
DISTRICT OF COLUMBIA CIRCUIT

D-U-N-S Number: XXXXXX277

Doing Business As
Federal Court

UNITED STATES OF AMERICA
d.b.a. USA

A Corporation Acting as CASE No. 21-cr-00386
Government

Vv.

PAULINE BAUER-VESSEL
:Pauline- :Bauer-EXECUTOR

Notice: Challenge Jurisdiction

Be it known by all parties, known or unknown, disclosed or undisclosed,
THE FACT:

Notice:

USC 18 2076: CLERK IS TO FILE: “Whoever being a clerk willfully refuses or neglects to make or
forward any report, certificate, statement, or document as required by law, shall be fined under this title or
imprisoned not more than one year, or both.”

USC 18 2071: Whoever willfully and unlawfully conceals, removes, mutilates obliterates, or destroys, or
attempts to do so, documents files or deposited with any clerk or officer of any court, shall be fined or
imprisoned not more than three years, or both.

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I, me, Pauline from the house of Bauer challenge the courts jurisdiction over
me, a living woman, one of we the people, creator of Government. My status
is clearly defined in my Notice of Special Appearance, that has already been
filed. As a Free living Soul, Sui Juris, Jus Soli,an ambassador of Christ,
Attorney in fact, I demand that this be a Constitutional Court of Record, that
there will be no Presumptions, assumptions, no tacit agreements, no waiver of
rights, no subversion of rights, no hearsay, no lawyering, or attornment from
the bench. I do not plead with the court, I do not plead guilty, I do not plead not
guilty, I declare my innocence. I am counting on you to be a honorable man,
and I must ask you: are claiming your authority over me from your oath of
office? Are you claiming to derive your authority over me from the doctrine of
PARENS PATRIAE? Are you claiming to derive your authority over me from
THE UNITED STATES, THE UNITED STATES OF AMERICA, statute(s),
code(s), ordinance(s), by-law(s) of a corporation? Please list the authority(s)
where you exercise dominion over me. May I have written confirmation that

all requirements have been met and are up to date?

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“Sovereignty itself is, of course, not subject to law, for it is the author and
source of law; but in our system, while sovereign powers are delegated to the
agencies of government, sovereignty itself remains with the people, by whom
and for whom all government exists and acts. And the law is the definition and
limitation of power.” Woo Lee vs. Hopkins, 118 U.S. 356 1.

“People are supreme, not the State.” Waring vs. the Mayor of Savannah, 60
Georgia at 93.

“The people of the State do not yield their sovereignty to the agencies which
serve them. The people, in delegating authority, do not give their public
servants the right to decide what is good for the people to know and what is not
good for them to know. The people insist on remaining informed so that they
may retain control over the instruments they have created.” Added Stats. 1953,
c. 1588, p.3270, sec. 1.

“The people are the recognized source of all authority, state or municipal, and
to this authority it must come at last, whether immediately or by circuitous
route.” Barnes v. District of Columbia, 91 U.S. 540, 545 [23: 440, 441]. p 234.
My Affadavit Of Repudiation, My Patent of Nativity, My Deed Of
Reconveyance, Certified Proof of Service, and Notice of Default Judgement of
Un-Rebutted A ffadavit have been filed upon the land (instrument #202117549).

I ask that you keep your honor and read the Notice Of Special Appearance

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thoroughly, completely and with comprehension as it is of a very serious
nature.

I, me, Pauline from the house of Bauer am the only executor of my minor
estate. The State has been incorporated to serve the debt-money system of
bondage, so I am not offered de jure Common Law contracts serving the
State, but de facto Admiralty Maritime contracts serving the Banks as surety
for my debt. My Unalienable Rights were not given to me by any man-made
authority, nor can they be taken away by any man-made authority. The real
property, wealth, assets and productivity of the People have been pledged as
Surety for the corporate national debt. This was done, and is perpetuated, by
offering contracts to the private sovereign People. In every case the Judge must
determine that he has Consent; Personam and Subject Matter Jurisdiction
before he can act or access the Cesta Que Trust.

I do not consent to a BAR COURT. I am calling for a Constitutional Court of
Record, asking for a Summary Judgement of Truth and Facts based on my
documents. “No Truth or Fact may be tried in court.”

Maxim of Law: Consensus facit legem. Consent makes the law.

A contract is a law between the parties, which can acquire force only by
consent. I do not consent to contract with a stand by attorney (Carmen

Hernandez) as I have fired her twice. Any contract signed by one party and

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autographed by the other is void, because a legal fiction cannot mix with a
lawful fact. The parties to a contract must be of the same kind.
"INSTRUMENT, contracts. The writing which contains some agreement, and
is so called because it has been prepared as a memorial of what has taken place
or been agreed upon. The agreement and the instrument in which it is contained
are very different things, the latter being only evidence of the existence of the
former. The instrument or form of the contract may be valid, but the contract
itself may be void on account of fraud.'- Bouvier’s Law Dictionary, 1856
Maxim of Law:Disparata non debent jungi. Unequal things ought not to
be joined.

“The Recounse annears in the Uniform Commercial Code at 1-103.6, which
says: “The Code is complimentary to the Common Law, which remains in
force, except where displaced by the code. A statute should be construed in
harmony with the Common Law, unless there is a clear legislative intent to
abrogate the Common Law.” (UCC 1-103.6)”

The Prosecution is holding the people in bondage with no evidence, only
Presumptions, assumptions, and hearsay. As to syllogism, all 12 Presumptions
are rebutted by me, Pauline, from the house of Bauer.

Maxim of Law: Ei incumbit probatio qui dicit, non qui negat. The burden

of the proof lies upon him who affirms, not he who denies.

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How does one arrest people and then build a case? This only invites fraud and
swindle.

“Presumption n. a rule of law which permits a court to assume a fact is true
until such time as there is a preponderance (greater weight) of evidence which
disproves or outweighs (rebuts) the presumption. Each presumption is based
upon a particular set of apparent facts paired with established laws, logic,
reasoning or individual rights. A presumption is rebuttable in that it can be
refuted by factual evidence. One can present facts to persuade the judge that
the presumption is not true.”

Maxim Of Law: Incerta pro nullis habentur. Things uncertain are
considered as nothing.

Falsus in uno, falsus in omnibus. False in one thing, false in everything.

Under God's law I did not harm another or cause any physical damage. The
capital police did not try to stop the crowd, but invited them in. There are many
videos released that show the police leading individuals through the barricades,

therefore leading law abiding people to be led into entrapment.

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“Entrapment is a practice in which a law enforcement agent or agent of the
state induces a person to commit a "crime" that the person would have
otherwise been unlikely or unwilling to commit.[1] It "is the conception and
planning of an offense by an officer or agent, and the procurement of its
commission by one who would not have perpetrated it except for the trickery,
persuasion or fraud of the officer or state agent".[2]

Police conduct rising to the level of entrapment is broadly discouraged and
thus, in many jurisdictions, is available as a defense against criminal

liability. Sting operations, through which police officers or agents engage in
deception to try to catch persons who are committing crimes, raise concerns
about possible entrapment.[3]

Depending on the law in the jurisdiction, the prosecution may be required to
prove beyond a reasonable doubt that the defendant was not entrapped or the
defendant may be required to prove that they were entrapped as an affirmative
defense.n the United States, two competing tests exist for determining whether
entrapment has taken place, known as the "subjective" and "objective" tests.
[20]

The "subjective" test looks at the defendant's state of mind; entrapment can be
claimed if the defendant had no "predisposition" to commit the crime.

The "objective" test looks instead at the government's conduct; entrapment

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occurs when the actions of government officers would usually have caused a
normally law-abiding person to commit a crime.

Contrary to popular belief, the United States does not require police officers to
identify themselves as police in the case of a sting or other undercover work,
and police officers may lie when engaged in such work.[21] The law of
entrapment instead focuses on whether people were enticed to commit crimes
they would not have otherwise considered in the normal course of events.[1]”
In Common Law court, if you are going to charge me with trespassing then
under Maxim of Law you must produce the party with whom you considered
me to trespass against. “Ei incumbit probatio qui dicit, non qui negat. The
burden of proof lies upon the one who affirms, not the one who denies. There
must be a Corpus Delecti. If there is no victim, then there is no crime. How
can a dead entity be a victim?

The search warrant is an illegal search warrant with no meets and bounds. It
was served to me after the FBI already entered my home when I explicitly told
them they could not enter without a search warrant so I did not consent to the
search. The search warrant was also issued before the criminal complaint.
There was not a list of what was taken therefore what they took they stole. I
presume this evidence was also withheld from the Grand Jury Indictment.

“[W Jhen law enforcement agents seize property pursuant to warrant, due

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process requires them to take reasonable steps to give them notice that the
property has been taken so the owner can pursue available remedies for its
return.” West Covina v. Perkins, 525U.S. 234,240 (1999).

"Whereas it is essential, if man is not to be compelled to have recourse, as a
last resort, to rebellion against tyranny and oppression, that human rights
should be protected by the rule of law," (Excerpt of Preamble of - Universal
Declaration of Human Rights)

“The States Parties to the present Covenant, Considering that, in accordance
with the principles proclaimed in the Charter of the United Nations, recognition
of the inherent dignity and of the equal and inalienable rights of all members of
the human family is the foundation of freedom, justice and peace in the world,
Recognizing that these rights derive from the inherent dignity of the human
person, Recognizing that, in accordance with the Universal Declaration of
Human Rights, the ideal of free human beings enjoying civil and political
freedom and freedom from fear and want can only be achieved if conditions

are created whereby everyone may enjoy his civil and political rights, as well
as his economic, social and cultural rights, Considering the obligation of States
under the Charter of the United Nations to promote universal respect for, and
observance of, human rights and freedoms, Realizing that the individual,

having duties to other individuals and to the community to which he belongs, is

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under a responsibility to strive for the promotion and observance of the rights
recognized in the present Covenant.” (Preamble - International Covenant on
Civil and Political Rights)

By the grace of God almighty, and through the supremacy clause of the
Constitution and the below-listed treaties of supreme law, it is I alone, who

shall determine my status, standing, honor and jurisdiction.

Article. VI.

Clause 2: This Constitution, and the Laws of the United States which shall be
made in Pursuance thereof; and all Treaties made, or which shall be made,
under the Authority of the United States, shall be the supreme Law of the Land;
and the Judges in every State shall be bound thereby, any Thing in the
Constitution or Laws of any State to the Contrary notwithstanding. Clause 3:
The Senators and Representatives before mentioned, and the Members of the
several State Legislatures, and all executive and judicial Officers, both of the
United States and of the several States, shall be bound by Oath or Affirmation,
to support this Constitution; but no religious Test shall ever be required as a
Qualification to any Office or public Trust under the United States. I hereby
invoke and stand upon all my natural rights, given by my God, which are

written in the documents listed below. These, and all others, are universally

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known as supreme law of the land:

* The Holy Bible, KJV 1611 GOD’s Law’s are Superior Law
¢ 1215 Magna Charta

° 1606 The First Charter of Virginia

¢ 1620 Mayflower Compact

* 1628 Petition of Rights

* 1641 Grand Remonstrance

¢ 1689 English bill of rights

* 1765 The Declaration of rights in congress at New York

* 1774 The Declaration of rights in congress at Philadelphia
¢ 1775 The Declaration of Arms

¢ 1776 The Virginia Declaration of rights

* 1776 Declaration of Independence

* 1777 the Articles of Confederation

° 1783 Treaty of Peace

° 1787 Northwest Ordinance

¢ 1789 The Constitution for the united States of America

¢ 1791 The Bill of Rights

¢ 1868 The Constitution of The United States of America

¢ 1864, 1929 and 1949 The Geneva Conventions

¢ 1948 The Universal Declaration of Human Rights

° 23 March 1976 The International Covenant of Civil and Political Rights,
Articles 1-27

I, hereby and forever stand firm upon these natural rights listed above, giving

the free man of god, one of “We the People”, the State National, Limited
Diplomatic Immunity as per the Geneva convention, in that he has done no
harm to another. If 1, have unknowingly harmed another let that living Man,
Woman, or Child, come forward claim under sworn oath and under the penalty
of perjury, and I'll explain, ask for repentance, seek forgiveness, and make

amends or rebut.

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International Covenant on Civil and Political Rights (ICCPR): (partial list of
applicable rights)
Article 1

1. All peoples have the right of self-determination. By virtue of that right they
freely determine their political status and freely pursue their economic, social
and cultural development.
3. The States Parties to the present Covenant, including those having
responsibility for the administration of Non-Self-Governing and Trust
Territories, shall promote the realization of the right of self-determination, and
shall respect that right, in conformity with the provisions of the Charter of the
United Nations.

Article 2

1. Each State Party to the present Covenant undertakes to respect and to ensure
to all individuals within its territory and subject to its jurisdiction the rights
recognized in the present Covenant, without distinction of any kind, such as
race, colour, sex, language, religion, political or other opinion, national or
social origin, property, birth or other status.
2. Where not already provided for by existing legislative or other measures,
each State Party to the present Covenant undertakes to take the necessary steps,

in accordance with its constitutional processes and with the provisions of the

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present Covenant, to adopt such laws or other measures as may be necessary to
give effect to the rights recognized in the present Covenant.

3. Each State Party to the present Covenant undertakes: (a) To ensure that any
person whose rights or freedoms as herein recognized are violated shall have
an effective remedy, notwithstanding that the violation has been committed by
persons acting in an official capacity; (b) To ensure that any person claiming
such a remedy shall have his right thereto determined by competent judicial,
administrative or legislative authorities, or by any other competent authority
provided for by the legal system of the State, and to develop the possibilities of
judicial remedy; (c) To ensure that the competent authorities shall enforce such

remedies when granted.

Article 3

The States Parties to the present Covenant undertake to ensure the equal right
of men and women to the enjoyment of all civil and political rights set forth in
the present Covenant.

Article 5

1. Nothing in the present Covenant may be interpreted as implying for any
State, group or person any right to engage in any activity or perform any act

aimed at the destruction of any of the rights and freedoms recognized herein or

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at their limitation to a greater extent than is provided for in the present
Covenant.

2. There shall be no restriction upon or derogation from any of the
fundamental human rights recognized or existing in any State Party to the
present Covenant pursuant to law, conventions, regulations or custom on the
pretext that the present Covenant does not recognize such rights or that it
recognizes them to a lesser extent.

Article 6

Every human being has the inherent right to life. This right shall be protected
by law. No one shall be arbitrarily deprived of his life.

Article 7
No one shall be subjected to torture or to cruel, inhuman or degrading
treatment or punishment. In particular, no one shall be subjected without his
free consent to medical or scientific experimentation. (There is EXCESSIVE
torture, cruel, inhuman & degrading treatment and punishment in our
jails & prisons! [See 1971 Stanford Prison Experiment. “Power corrupts,
and absolute power corrupts absolutely!”)

Article 8
1. No one shall be held in slavery; slavery and the slave-trade in all their forms

shall be prohibited.

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2. No one shall be held in servitude.

3. (a) No one shall be required to perform forced or compulsory labour;

(What about the Prison Industrial Complex’s role in Human Trafficking
and Racketeering? [There are contract$ and bond$ that require prisoners
to fill the beds of jails and prisons {Human Warehouses}!]) (Some jails are
even OWNED by county judges]!

Article 9
1. Everyone has the right to liberty and security of person. No one shall be
subjected to arbitrary arrest or detention. No one shall be deprived of his liberty
except on such grounds and in accordance with such procedure as are
established by law.

2. Anyone who is arrested shall be informed, at the time of arrest, of the
reasons for his arrest and shall be promptly informed of any charges against
him.

3. Anyone arrested or detained on a criminal charge shall be brought promptly
before a judge or other officer authorized by law to exercise judicial power and
shall be entitled to trial within a reasonable time or to release. It shall not be the
general rule that persons awaiting trial shall be detained in custody, but release
may be subject to guarantees to appear for trial, at any other stage of the

judicial proceedings, and, should occasion arise, for execution of the

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judgement.

4. Anyone who is deprived of his liberty by arrest or detention shall be entitled
to take proceedings before a court, in order that that court may decide without
delay on the lawfulness of his detention and order his release if the detention is
not lawful.

5. Anyone who has been the victim of unlawful arrest or detention shall have
an enforceable right to compensation.

Article 10
1. All persons deprived of their liberty shall be treated with humanity and with
respect for the inherent dignity of the human person.

3. The penitentiary system shall comprise treatment of prisoners the essential
aim of which shall be their reformation and social rehabilitation. Juvenile
offenders shall be segregated from adults and be accorded treatment
appropriate to their age and legal status.

Article 11
No one shall be imprisoned merely on the ground of inability to fulfill a
contractual obligation.

Article 12
1. Everyone lawfully within the territory of a State shall, within that territory,

have the right to liberty of movement and freedom to choose his residence.

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2. Everyone shall be free to leave any country, including his own.

Article 14

1. All persons shall be equal before the courts and tribunals. In the
determination of any criminal charge against him, or of his rights and
obligations in a suit at law, everyone shall be entitled to a fair and public
hearing by a competent, independent and impartial tribunal established by law.
The press and the public may be excluded from all or part of a trial for reasons
of morals, public order or national security in a democratic society, or when the
interest of the private lives of the parties so requires, or to the extent strictly
necessary in the opinion of the court in special circumstances where publicity
would prejudice the interests of justice; but any judgement rendered in a
criminal case or in a suit at law shall be made public except where the interest
of juvenile persons otherwise requires or the proceedings concern matrimonial
disputes or the guardianship of children.

2. Everyone charged with a criminal offense shall have the right to be
presumed innocent until proved guilty according to law.

3. In the determination of any criminal charge against him, everyone shall be
entitled to the following minimum guarantees, in full equality:

(a) To be informed promptly and in detail in a language which he understands

of the nature and cause of the charge against him;

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(b) To have adequate time and facilities for the preparation of his defense and
to communicate with counsel of his own choosing;

(c) To be tried without undue delay;

(d) To be tried in his presence, and to defend himself in person or through legal
assistance of his own choosing; to be informed, if he does not have legal
assistance, of this right; and to have legal assistance assigned to him, in any
case where the interests of justice so require, and without payment by him in
any such case if he does not have sufficient means to pay for it;

(e) To examine, or have examined, the witnesses against him and to obtain the
attendance and examination of witnesses on his behalf under the same
conditions as witnesses against him;

(f) To have the free assistance of an interpreter if he cannot understand or speak
the language used in court;

(g) Not to be compelled to testify against himself or to confess guilt.

5. Everyone convicted of a crime shall have the right to his conviction and
sentence being reviewed by a higher tribunal according to law.

6. When a person has by a final decision been convicted of a criminal offense
and when subsequently his conviction has been reversed or he has been
pardoned on the ground that a new or newly discovered fact shows

conclusively that there has been a miscarriage of justice, the person who has

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suffered punishment as a result of such conviction shall be compensated
according to law, unless it is proved that the nondisclosure of the unknown fact
in time is wholly or partly attributable to him.

7. No one shall be liable to be tried or punished again for an offense for which
he has already been finally convicted or acquitted in accordance with the law
and penal procedure of each country.

Article 15

1. No one shall be held guilty of any criminal offense on account of any act or
omission which did not constitute a criminal offense, under national or
international law, at the time when it was committed. Nor shall a heavier
penalty be imposed than the one that was applicable at the time when the
criminal offense was committed. If, subsequent to the commission of the
offense, provision is made by law for the imposition of the lighter penalty, the
offender shall benefit thereby.

2. Nothing in this article shall prejudice the trial and punishment of any person
for any act or omission which, at the time when it was committed, was criminal
according to the general principles of law recognized by the community of
nations.

Article 17

1. No one shall be subjected to arbitrary or unlawful interference with his

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privacy, family, home or correspondence, nor to unlawful attacks on his honor
and reputation.

2. Everyone has the right to the protection of the law against such interference
or attacks.

1. Everyone shall have the right to freedom of thought, conscience and
religion. This right shall include freedom to have or to adopt a religion or belief
of his choice, and freedom, either individually or in community with others and
in public or private, to manifest his religion or belief in worship, observance,
practice and teaching.

2. No one shall be subject to coercion which would impair his freedom to have
or to adopt a religion or belief of his choice.

Article 19

1. Everyone shall have the right to hold opinions without interference.

2. Everyone shall have the right to freedom of expression; this right shall
include freedom to seek, receive and impart information and ideas of all kinds,
regardless of frontiers, either orally, in writing or in print, in the form of art, or
through any other media of his choice.

I get that, the STATE OF PENNSYLVANIA Birth STATE _ PENNSYLVANIA
through its Unlawful Conversion created the ALL CAPITAL fiction variation

of the christian name my PARENTS gave me. The STATE didn't create

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anything that is real and living. It was GOD who created me. It was GOD who
endowed my parents with the ability to co-create with Him to bring me into
this world and to raise me. The government public servants are TRUSTEES. I
am the BENEFICIARY. One of “We the People” creators of Government. Now
let’s see what the Constitution has to say about our Rights.

BILL OF RIGHTS. SECTION I.

Paragraph I. All government, of right, originates with the people, is founded
upon their will only, and is instituted solely for the good of the whole. Public
officers are the trustees and servants of the people, and, at all times, amenable
to them.

Par. II. Protection to person and property is the paramount duty of
government, and shall be impartial and complete.

Par. IIE. No person shall be deprived of life, liberty, or property, except by
due process of law.

Par. IV. No person shall be deprived of the right to prosecute or defend his
own cause in any of the Courts of this State, in person, by attorney, or both.

I am not a federal citizen. I am a State National and claim my Nationality as
such. A Declaration of independence was a Declaration of Trust. A constitution
is how a CORPORATION OR TRUST operates, The Articles Of Confederation

was also a Constitution. Grantor: WE THE PEOPLE Beneficiary: We the

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people TRUSTEE: PUBLIC OFFICERS Look up “Trustee”. YOU CANNOT
USE TRUSTEE WITHOUT IT BEING A TRUST. That Sums it up right there.
This is the PUBLIC OFFICERS CONTRACT.

THE CONSTITUTION IS THE TRUST INDENTURE FOR THE PUBLIC
OFFICERS AKA. SERVANTS TO THE BENEFICIARY.

Here I shall stand, rescinding all past contracts, agreements or waivers of rights
for Cause of Fraud.

I, Pauline; Bauer, hereby repudiate, revoke and rescind any waiver I may have
previously made of these rights, unknowingly, unwittingly, under duress, under
coercion, forced upon me through fearful scare tactics, under lies, under any
false assumption or presumption, or through any perceived Tacit agreement, or
by any signature, which may have been used by a fictional corporate officer
registered by my all caps name of some fraudulently created dead entity, or
vessel lost at sea, or transmitting utility, created by government and recorded as
Human Resources and used as Human Capital by an investment bond or note
created in Dog Latin Glossa NAME through fraud and personage of a bonded
and insured birth registration that is Sold on the market under a CUSIP #
through U.S. treasury bonds bundled in an LEI, and regulated by the SEC. See
GMEIUtility.org or fidelity.com See also Department of Fiscal Services web

pages American Jurisprudence 2nd 1964 vol. 16 § 373 Rights of Contract

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Liberty of contract involves, as one of its essential attributes, the right to
terminate contracts, Valid contracts are property and as such are protected from
being taken without just compensation.

The United States Supreme Court has stated that freedom to contract is the
essence of freedom from undue restraint on the right to contract. Other courts
have stated that the liberty to make contracts includes the corresponding right
to refuse to accept a contract or to assume such liability as may be proposed.
The right of liberty of contract is inherent and inalienable. It belongs to
everyone by the law of the land; every man has the right freely to deal, or to
refuse to deal, with his fellow men. Pg. 706 — 707 American Jurisprudence 2nd
1964 vol. 16 § 362 Nature of Right guaranteed The right of property is a
fundamental, natural, inherent, and inalienable right... In fact, it does not owe
its origin to the constitutions which protect it, for it existed before them. It is
sometimes characterized judicially as a sacred right, the protection of which is
one of the most important objects of government. Pg. 691 This Means to take
away one’s RIGHT TO REFUSE CONTRACT with anyone is to take away
“The right of property” A Right thats guaranteed... and un-a-lien-able.

Genesis 2:7 And the LORD God formed man of the dust of the ground, and
breathed into his nostrils the breath of life; and man became a living soul.

I, Pauline; Bauer, as a woman, as a living soul, Stand upon my rights and

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refuse to be held as the surety for the bond in trust. Challenge of Status Being a
man of God, a living soul, of flesh and blood, of sound mind, intelligent and of
competent nature, the creditor, beneficiary and holder in due course of the trust.
I am, an honorary member and proud descendent of “We the People” as
creator and arbitrator of government. My DNA existed upon these shores
before government. I am NOT one artificially created by government such as
“Citizen”, “Person”, or “Resident”. For it is my estate and the estates of my
fathers and grandfathers, back many years, as I am alive upon the land. I am
the holder in due course, the rightful beneficiary, and I hereby command the
administrator as the fiduciary to settle and dismiss this matter. I have
previously repudiated my citizenship via affidavit to the President of the
UNITED STATES, the Secretary of State and the Attorney General, of the
UNITED STATES. As well as to the SECRETARY OF STATE wherein I was
born upon the Land. I am a State National, a Bloodline American, one of “We
the People” of these the united “States of America”. Again, I am not a U.S.
Citizen, but I am a State National, as described in USC 8 § 1101 (a) 21 with
limited diplomatic immunity as one who created government as per Geneva
Conventions.

As a “non-resident alien,” to DISTRICT OF COLUMBIA, or to the IMF, my

estate and/or trust is, as described in 26 USC § 7701 (a)(31), as a TAX-

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EXEMPT “foreign estate or trust.” “A ‘citizen of the United States’ is a civilly
dead entity operating as a co-trustee and co-beneficiary of the PCT (public
Charitable Trust), the constructive, Cestui Que Vie trust of US INC. Under the
14th Amendment, which upholds the debt of the USA and US INC.”
Congressional Record, June 13, 1967, pp. 15641-15646 See HJR 192 The
Defendant, As Charged above, is described as a DEAD ENTITY. As such, it
has no Labor to earn on its own, through its own efforts, or its own blood,
sweat and tears, so is therefore IN-capable on its face of giving remedy to the
STATE OF PENNSYLVANIA CORPORATION. Nor can the fictional entity,
the STATE OF PENNSYLVANIA bring its jurisdiction against the woman.
Only against the “person” which I refute as constructive fraud, because it is a
creation of the State. “I set out on this ground which I suppose to be self
evident, ‘that the earth belongs in usufruct to the living,’ that the dead have
neither powers nor rights over it.”

Thomas Jefferson in letter to James Madison; criticizing the new constitution
September 6th 1789 At some point in time, one recognizes the fraud. As I the
woman, have awakened to the fact that it is I, the living woman, who’s blood,
sweat and tears, of his labor, that has been fraudulently held as the surety and
as the debtor, when in reality it is I, that is truly the holder in due course and

the actual creditor. But Alas! The government corporation deems that the

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woman is “LOST AT SEA” by her very (E)state, while her employees (the
Government, Corporations) steal the fruits of her labor. I, would like to remind
you that the act of either remaining a “U.S. citizen” or becoming one is a
voluntary, revocable act according to the U.S. Supreme Court in the case of
United States v. Cruikshank, 92 U.S. 542. All citizenship is a product of intent
and domicile, and it has never been my intent to be a “U.S. citizen” as defined
in 8 U.S.C. §1401 while it has always been my intent to be a “national” per 8
U.S.C. §1101(a)(21) but not a STATUTORY “U.S. citizen” per 8 U.S.C.
§1401: nor has it ever been my intent to be listed as domiciled in The
DISTRICT OF COLUMBIA, and being treated as a resident of the State of
Pennsylvania “temporarily to do business. Nor treated as a minor, by merely
not claiming the minor account even after exceeding the age of 18.

Challenge of Jurisdiction

In Genesis 1: 26-28 God gave man(kind) dominion over the three
Jurisdictions: Land, Air, Water, and everything therein. This became the origin
of LAW. Latter Moses brought down from the mount the Ten Commandments
this became known also as God’s law. And then, there came the following:

The first three Testamentary Trusts

¢ In 1455, The Romanus Pontifex;

¢ in 1481, The Aeterni Regis;

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* in 1537, The Convocation; ...all of the first three testamentary trusts

combined set the specific three jurisdictions of the LAW...

Land; Common Law, of “we the people” natural, man/woman, national in
nature. Originally King of Spain as trustee but later given to all mankind.

Air; Ecclesiastical law, Canon law, moral, souls, trusts, global in nature.
Vatican as trustee.

Water; Admiralty law or Commerce; shipping, vessels, ports, goods, tax,
international in nature. Contractual in nature. Persons, Entities, Corporations,
Employees, residents. British Monarchy as trustee. The Crown inc. The BAR
Association. These are the ONLY three jurisdictions, all with their separate and
distinct languages.

*Definition of “jurisdiction”; Juris, means “right law” + diction, means
“words”. The words you use determine in which of the three jurisdictions you
stand. We are not well-educated through the governments public schools, and
its Public propaganda educational system. We learn only what they want us to
learn. And because the overwhelmingly vast majority of government leaders
are BAR Association members, then why are we not taught the language and
Jurisdictions differences of LAW? Why are we are not taught the law? Why not
I ask, is this to purposely deceive? In fact, it seems this and other pieces of the

puzzle were hidden on purpose, as a way to dumb us down to facilitate the

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taxing of the poor, through our courts, in order to make a profit. I ask, Can this
be constructive fraud? It’s definitely not full and honest disclosure of the facts.
Here is an Example of Land / Common jurisdiction vs. Water / Admiralty /
Commerce jurisdiction:

Example Sentence #1 Land / Common jurisdiction As one of the “We the
People” a free man, I travel, in private, upon the roadways, in my automobile
or carriage or by any other means that I determine expedient, in safety and
without molestation, while being secure in my property and my papers, using
only my passport, as my protection and my identification, as is my right of
locomotion. I am lawful. vs
Example Sentence #2 Water / Admiralty / Commerce jurisdiction As a person,
a entity, a citizen, a resident, through privilege of contract with government, I
drive or operate my motor vehicle upon the highways when in possession of a
drivers license, I am operating in commerce if I am following all rules, codes,
statutes, ordinances, (which are all corporate by-laws) I am therefore legal. *
*(Only applies when hauling Passengers for hire, or goods for resale in
interstate commerce or for public servants in the performance of their official
duties) Sentences above are examples of two distinct jurisdictions of land and
water!

Man has dominion, man has jurisdiction over all things.

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All Law is but merely, land, Air, or Water. According to Genesis 1:26-28 in The
Holy Bible, “{I] God said, Let us make man in our image, after our likeness:
and let them have dominion.... So God created man in his own image, in the
image of God created he him; male and female created he them. And God
blessed them, and God said unto them, Be fruitful, and multiply, and replenish
the earth, and subdue it: and have dominion over the fish of the sea and over
the fowl of the air, and over every living thing that moveth upon the earth.”
According to Genesis 1:26-28 in The Holy Bible, God bestows man with
dominion and jurisdiction over all things — but NOT over other man.

The Bar Association routinely, incorrectly or purposely, exchanges the word
“venue” and other words, replacing them with the word “jurisdiction” to
confuse the people, the State Nationals, and the citizens.

Ephesians 6:12 KJV For we wrestle not against flesh and blood, but against
principalities, against powers, against the rulers of the darkness of this world,
against spiritual wickedness in high places.

Governments have no jurisdiction over man. Governments have jurisdiction
only over artificial entities and Over its own employees. “Inasmuch as every
government is an artificial person, an abstraction, and a creature of the MIND

ONLY with other artificial persons. The imaginary, having neither actuality nor

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substance, is foreclosed from creating and attaining parity with the tangible.
The legal manifestation of this is that NO government, as well as any law
agency, aspect, court, etc., can concern itself with anything other than
Corporate, Artificial Persons and the Contracts between them.” (emphasis
added). S.C.R. 1795, Penhallow v. Doane’s Administrators 3 U.S. 54; 1 L.Ed
57; 3 Dall. 54, Supreme Court of the United States 1795, [Not the “United
States Supreme Court” -ed.] “No sanction can be imposed absent proof of
jurisdiction” Stanard v. Olesen, 74 S. Ct.768 “Once challenged, jurisdiction
cannot be ‘assumed’, it must be proved to exist.” Stuck v. Medical Examiners,
94 Ca2d 751.211 P2s 389 “Jurisdiction, once challenged, cannot be assumed
and must be TIMELY PROVEN, AND EMPHATICALLY DECIDED. ”.
Maine v. Thiboutot, 100 S. Ct. 2502 “The law requires proof of jurisdiction to
appear on the record of the administrative agency and all administrative
proceedings.” Hagans v. Lavine, 415 U.S. 533 Page 25 of 99 If any tribunal
finds absence of proof of jurisdiction over person and subject matter, the case
must be dismissed.” Louisville R.R. v. Motley, 211 U.S. 149, 29 S. Ct. 42
Under the Federal Rules of Civil Procedure 12b 6, the prosecution has failed to
provide adequate proof that the parties involved in this situation are actually
corporate entities. There is ample proof that the prosecution and other agents

are actually corporations.

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Title 28 USC 3002 Section 15A states United States is a Federal Corporation
and not a government, including the Judicial Procedural Section. In numerous
cases, SCOTUS has said in summary:

1) that since governments chose to incorporate themselves, they must abide by
the same rules as any other corporations.

2) that governments are now de facto, as corporations; and that they pass no
laws, but only corporate bylaws called rules, codes, statutes, executive orders,
ordinances and policies.

3) that all rules, codes, statutes, executive orders, ordinances and policies, are
“colored/colorable” and governed only by the consent of the governed and
through the fraudulent creation and unlawful conversion of man-kind into a
legal Person, Citizen, Resident. Obtained through TACIT Agreement and not
honorable contract. A court has no jurisdiction to determine its own
jurisdiction, for a basic issue in any case before a tribunal is its power to act,
and a court must have the authority to decide that question the first instance.”
Rescue Army v. Municipal Court of Los Angeles, 171 P2d 8: 331 US 549, 91
K, ed, 1666m 67 S, Ct, 1409

I, Pauline; Bauer,, a living soul, a woman, do not consent to this type of fraud. I

am governed by my GOD, his beloved Son, Jesus Christ, the guidance of the

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Holy Spirit, and the dictates of my own conscience. As Clearly stated herein as
a Latter Day Saint, my faith and beliefs are clear; Doctrine & Covenant Section
98:4-12

A long established Publicly Published Document, Obeyed by Millions....
Therefore Law.

And now, verily I say unto you concerning the laws of the land, it is my will
that my people should observe to do all things whatsoever I command them.
And that law of the land which is constitutional, supporting that principle of
freedom in maintaining rights and privileges, belongs to all mankind, and is
justifiable before me.

Therefore, I, the Lord, justify you, and your brethren of my church, in
befriending that law which is the constitutional law of the land;

And as pertaining to law of man, whatsoever is more or less than this, cometh
of evil.

I, the Lord God, make you free, therefore ye are free indeed; and the law also
maketh you free.

Nevertheless, when the wicked rule the people mourn.

Wherefore, honest men and wise men should be sought for diligently, and good
men and wise men ye should observe to uphold; otherwise whatsoever is less

than these cometh of evil.

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And I give unto you a commandment, that ye shall forsake all evil and cleave
unto all good, that ye shall live by every word which proceedeth forth out of
the mouth of God.

For he will give unto the faithful line upon line, precept upon precept; and I
will try you and prove you herewith.

The constitution clearly states that only congress can pass laws, yet since
incorporated every act of congress has a line in it that reads, “this act shall not
effect any rights thus previously established”. This means congress cannot pass
any ex-post facto laws. WHAT DO YOU THINK THE LAW IS? 16 Am Jur 2d,
Sec 177 late 2d, Sec 256: The general misconception is that any statute passed
by legislators bearing the appearance of law constitutes the law of the land. The
U.S. Constitution is the supreme law of the land, and any statute, to be valid,
must be in agreement. It is impossible for both the Constitution and a law
violating it to be valid; one must prevail. This is succinctly stated as follows:
The General rule is that an unconstitutional statute, though having the form and
name of law is in reality no law, but is wholly void, and ineffective for any
purpose; since unconstitutionality dates from the time of it's enactment and not
merely from the date of the decision so branding it. An unconstitutional law, in
legal contemplation, is as inoperative as if it had never been passed. Such a

statute leaves the question that it purports to settle just as it would be had the

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statute not been enacted. Since an unconstitutional law is void, the general
principles follow that it imposes no duties, confers no rights, creates no office,
bestows no power or authority on anyone, affords no protection, and justifies
no acts performed under it..... A void act cannot be legally consistent with a
valid one. An unconstitutional law cannot operate to supersede any existing
valid law. Indeed, insofar as a statute runs counter to the fundamental law of
the land, it is superseded thereby. No one Is bound to obey an unconstitutional
law and no courts are bound to enforce it. It exposes, that private BAR
attorneys have been indoctrinated into believing that we have a lawful system
of justice, which we do not. Their job today is to prevent the American people
from understanding our reality and to keep us all locked into the legal system
BAR attorneys created and were trained to implement. Our current ‘legal
system’ is a fraud and it works to their benefit and to our detriment. This truth
was confirmed by Karen Hudes, former World Bank Attorney, during an
interview. “Former World Bank Attorney exposes the bankers and the BAR”
Ms Hudes correctly stated that: “I don’t want to believe that all of these
lawyers and the American Bar Association are pulling a fast one on everybody
like this, but I have no choice — that’s the way it is. If that’s the way it is, I’d
rather admit that’s the way it is than sit there being a dupe.” She goes on to say

that... “the ABA [American Bar Association] has lost all total credibility and

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they should apologize to the American people for what it is they have been
doing. And they should disband!” Ms. Hudes further explains what has
happened to our legal system during an interview titled: “Information on the
13th Amendment” that Ms. Hudes referred to: “The Missing 13th
Amendment”. Both our government and our courts are playing Chess, while
telling the people the game is Checkers. If We the People wish to restore our
unalienable birth rights, we need to learn to play Chess. FRAUD The thing
about fraud is this: At some point in time, it must be recognized, learned, and
vitiated. Only then is justice obtained. Only then is Liberty achieved. Please let
me explain the Claim above so you may rule any and all contracts pertaining to
this matter and any previous matters of the court pertaining to this man Void

Ab Initio. The Living story of the Fraud of the Cestui Que Vie Act of 1666 My
Mother, a woman, a living soul, created by God, of flesh and blood, very much
alive; went into the “foundling” (a safe place to abandon a child) hospital
believing she would get care but instead was falsely declared indigent, a
pauper. Then... Having recently undergone the extreme duress of a major
medical trauma commonly known as childbirth, and under the influence of
painkillers, being anxious to go home to her comfortable bed, in order to
pursue a happy life with her beautiful, newly born baby. She unknowingly

filled out some dubious and unexplained forms put before her. Then...By the

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Constructive fraud of government she was coerced into signing them as an
“informant”, (one who gives someone up to another), and by the presumptive
Tacit agreement as a citizen, as a person, as a resident by historical definitions
of a “city employee”, a “dead legal entity or office of person”, and “as
someone there temporarily to do business”. And... My innocent mother thus
failing to recognize the lifelong consequences of her actions as there was no
“Full and Honest Disclosure” nor any “Meeting of the Minds” which surely
Vitiates any contract, having been told it’s just to give your baby a name and to
get it registered. This form that my mother signed was fraudulently used to
create a document of title, a Bond, a Insured Security, and was then sent to the
Department of Human Resources registered as human capital, Slavery jointly
by the foundling Hospital, by the STATE, and by the UNITED STATES. This
Action created a Trademark/Copyright infringement and Unlawful Conversion
of given Christian born Name converted to birthed NAMES and bonded, their
attached CUSIP #’s attached to the CESTUI QUE VIE trust, all “look alike
sound a like” names, a constructive fraud. Jt was a fraud created by powerful
and corrupt groups of controlling men. Since 4" Day of June, 1967 AS
SHOWN ON BIRTH RECORD PAULINE CROSKEY Was Fraudulently
created by STATE OF PENNSYLVANIA, with its creation (berthed) date as

ie!
recorded on the 14th, Day of June, 1967 as Instrument File No. 07/4/77 of

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Official Records of ALLEGHENY COUNTY, Department of Human
Resources of the STATE OF PENNSYLVANIA. With its Own unique CUSIP
##redacted##. is also Dead. STATE OF PENNSYLVANIA has no remedy
available to its Fictionally Dead Entity. While I, Pauline; Bauer, Born alive on
the different date of 4th, day of June 1967 upon the Land Jurisdiction known
as Pennsylvania Republic a De Jure republic, was, as its signatory officer,
(person) without “full and honest disclosure” of what that meant, was a minor
at the time and not a valid party to the contract. As mentioned above, at some
point in time one recognizes the fraud as the man, the living soul, this child of
god, has done and has awoke to the fact that it is his blood, sweat, and the tears
and pains of his labor, the man’s, that has been fraudulently held as the surety
and the debtor when he is truly the holder in due coarse and the actual
creditor... But No, he is deemed “LOST AT SEA” by his very co-trustee of his
own (E)state while his employees (Government Corporations) steals from the
fruits of his labor. Then through this fraud tried to make the Man, the living
soul, a signatory officer (into a “PERSON”) a fraudulently created dead dog
Latin entity, an unknowing party to the Bankrupt Corporation the UNITED
STATES and STATE of PENNSYLVANIA subsidiary, all just more
constructive fraud. I ask you this; Is the Man and Living soul an Executor to, a

Beneficiary of, or in any other way, is he one who enjoys any financial benefit

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to this Cestui Que Vie Trust estate? Or, does one have to call in a federal
bankruptcy judge to dissolve the Cestui Que Vie Trust and settle and claim the
estate / the minor account? Or, does one just claim it by asking the
administrator, as the law states? These private secret trusts are set up under
Canonum De [us Positivum Canons of Positive Law....

Canon 2048

Since 1933, when a child is borne in a State (Estate) under inferior Roman law,
three (3) Cestui Que (Vie) Trusts are created upon certain presumptions,
specifically designed to deny the child forever any rights of Real Property, any
Rights as a Free Person and any Rights to be known as man and woman rather
than a creature or animal, by claiming and possessing their Soul or Spirit.
Canon 2049

Since 1933, upon a new child being borne, the Executors or Administrators of
the higher Estate willingly and knowingly convey the beneficial entitlements of
the child as Beneficiary into the 1st Cestui Que(Vie) Trust in the form of a
Registry Number by registering the Name, thereby also creating the Corporate
Person and denying the child any rights as an owner of Real Property.

Canon 2050

Since 1933, when a child is borne, the Executors or Administrators of the

higher Estate knowingly and willingly claim the baby as chattel to the Estate.

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The slave baby contract is then created by honoring the ancient tradition of
either having the ink impression of the feet of the baby onto the live birth
record, or a drop of its blood as well as tricking the parents to signing the baby
away through the deceitful legal meanings on the live birth record. This live
birth record as a promissory note is converted into a slave bond sold to the
private reserve bank of the estate and then conveyed into a 2nd and separate
Cestui Que (Vie) Trust per child owned by the bank. Upon the promissory note
reaching maturity and the bank being unable to “seize” the slave child, a
maritime lien is lawfully issued to “salvage” the lost property and itself
monetized as currency issued in series against the Cestui Que (Vie) Trust.
Canon 2051

Each Cestui Que Vie Trust created since 1933 represents one of the 3 Crowns
representing the 3 claims of property of the Roman Cult, being Real Property,
Personal Property and Ecclesiastical Property and the denial of any rights to
men and women, other than those chosen as loyal members of the society and
as Executors and Administrators.

Canon 2052

The Three (3) Cestui Que Vie Trusts are the specific denial of rights of Real
Property, Personal Property and Ecclesiastical Property for most men and

women, corresponds exactly to the three forms of law available to the Galla of

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the Bar Association Courts. The first form of law is corporate commercial law
is effective because of the Ist Cestui Que Vie Trust. The second form of law is
maritime and trust law is effective because of the 2nd Cestui Que Vie Trust.
The 3rd form law is Talmudic and Roman Cult law is effective because of the
3rd Cestui Que Vie Trust of Baptism.

Canon 2053

The Birth Certificate issued under Roman Law represents the modern
equivalent to the Settlement Certificates of the 17th century and signifies the
holder as a pauper and effectively a Roman Slave. The Birth Certificate has no
direct relationship to the private secret trusts controlled by the private banking
network, nor can it be used to force the administration of a state or nation to
divulge the existence of these secret trusts.

Canon 2054

As the Cestui Que Vie Trusts are created as private secret trusts on multiple
presumptions including the ongoing bankruptcy of certain national estates, they
remain the claimed private property of the Roman Cult banks and therefore
cannot be directly claimed or used.

Canon 2055

While the private secret trusts of the private central banks cannot be directly

addressed, they are still formed on certain presumptions of law including

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claimed ownership of the name, the body, the mind and soul of infants, men
and women. Each and every man and woman has the absolute right to rebuke
and reject such false presumptions as the holder of their own title.

Canon 2056

Given the private secret trusts of the private central banks are created on false
presumptions, when a man or woman makes clear their Live Borne Record and
claim over their own name, body, mind and soul, any such trust based on such
false presumptions ceases to have any property.

Canon 2057

Any Administrator or Executor that refuses to immediately dissolve a Cestui
Que (Vie) Trust, upon a Person establishing their status and competency, is
guilty of fraud and fundamental breach of their fiduciary duties requiring their
immediate removal and punishment..

Canon 2124

When a person has re-established their competent living status, then by law the
Cestui Que (Vie) Trust is dissolved and they return to being acknowledged as a
beneficiary or a some higher standing if a trust. In either case, it is both
unlawful and a serious fraud against the law to seek Income Taxes once the
Cestui Que Vie is dissolved and no (dead) body corporate exists to use as

argument for rent.

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Canon 2127

When a person has re-established their competent living status, then no Cestui
Que (Vie) Trust may exist in their place. Therefore, a Company must be formed
as a Trust instead of a Cestui Que Vie and company tax cannot be charged for
rent under its present form. QUESTION FOR THE PROSECUTION; IS IT
TRULY YOUR HONEST INTENTION TO DEFRAUD ME OR INJURE
ME IN ANY WAY OR IS IT YOUR INTENT TO CONSPIRE OR DENY
ME ANY BASIC GODGIVEN, GUARANTEED CONSTITUTIONAL and
INTERNATIONAL RIGHTS, HERE? Wherefore, here now comes my
Living Testimony: My Living Testimony, in the form of and part of this
Affidavit shall be truth in fact upon the record. It is presented to the best of my
knowledge and belief, and is sworn under oath and the penalty of perjury. It is
un-rebutted, precept by precept, and shall become judgment upon the record.

1) I, Pauline; Bauer, a living soul, a woman of GOD, Sui Juris, having only just
recently learned of the fraud committed by the courts, the BAR Association,
and those of perceived authority claiming to represent this De Facto
Government, A foreign Corporation, calling itself the UNITED STATES. It’s
subsidiary corporation the STATE OF PENNSYLVANIA. Who having created

a false fictional entity known as, PAULINE BAUER, that it is this, fictional

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Entity being charged as such. NOM DE GUERRE, PERSONATE false person
name is a breach of the supreme law treaty of the International Covenant of
Civil and Political Rights, Part 1, Amendments 1-27. It is in breach of U.S.C.
Title 18: §1342: [Point 1 A - d] the use of Fiction names against living-souls is
a breach of U.S.C Title18 §1341 [Point 1 A - e] to cause a Fraud and Swindle.
For the defendant(s) by showing their true identity in upper and lowercase
lettering with punctuation, the court is in breach of F.R.C.P. RULE:10(a):
[Point 1 A - f] using the proper name of the Party, and a breach of F.R.C.P.
RULE: 17, [Point 1 A - g] only the real party of concern can be sued in the
admiralty.

2) I, Pauline; Bauer, hereby Demand a Dismissal with extreme prejudice, as I
am NOT, nor have I ever been that fictional Entity called as PAULINE
BAUER AS SHOWN ON BIRTH RECORD #0786170-1967, which was
created by you, the UNITED STATES, the STATE of PENNSYLVANIA and
Not I, and that was further perpetrated through fraud upon my Mother, and
upon myself at my Birth. See Birth Certificate or Certificate of Live Birth
3) I, Pauline; Bauer, state for the record, that I am of sound Mind and Body and
having good Mental Faculties, I hereby state that I Believe that I, a living soul,
exist upon the LAND Jurisdiction given to all Mankind by GOD, as stated in

Genesis, and NOT of any other jurisdiction of the AIR, or WATER. (LAW =

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Land, Air, Water). As such I have Mailed my “Affidavit of Repudiation of
Citizenship” to the President, State Department, Department of Justice, and
recorded my Names upon the Land through a Deed of Re-Conveyance along
with my Patent of Nativity in the county of my Birth. I Believe that I Served
Notice to “the powers that be" that I am alive and that I claim the Cestui Que
Vie BIRTH CERTIFICATE TRUST account, (Title 31 U.S. Code 1321/1322),
is what we are supposed to do. - Nationality Act, 1940. 4)

I,Pauline; Bauer,, State for the record that I am a State National, Foreign to the
De Facto UNITED STATES Corporation. Its foreign agents must register under
the 1938 Foreign Agent Registration Act which is Constitution law from
Federal Immigration and Original Constitution Nationality Act Section 8 USC
1324(a)(1)(A)(iv)(b) (ii). the Americans living in these states are NOT
"domestic" with respect to the "United States" ---- UCC 9 (307) h states the
following "The location of the United States: the United States is located in the
District of Columbia...." I have also filed An “affidavit of repudiation of
citizenship” to the secretary of state of the UNITED STATES, to the president
of the UNITED STATES, and to the attorney general of the UNITED STATES,
and to the acting SECRETARY OF STATE OF PENNSYLVANIA. I have also
recorded upon the land of the county of Cache my “Patent of Nativity”

Showing that my ancestors my very DNA lived upon the land before this

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government even existed.

5) I, Pauline; Bauer, State I, am also a ambassador servant of Christ. According
to Public Law 97-280 whereby Congress declared the Bible the word of God,
(approved October 4, 1982) that puts the laws of The Creator on effect.

6) I, Pauline; Bauer, do hereby declare that I do NOT Consent to any
Presumptions or Assumptions or Hearsay on your part but only on Truth and
Facts. Every State law must conform in the first place to the Constitution of the
United States, and then to the subordinate constitutions of the particular state;
and if it infringes upon the provisions of either, it is so far void.” Houston v.
Moore, 18 US 1, 5 L.Ed 19 (1840). It is abiding truth that “nothing can destroy
a government more quickly than its failure to observe its own laws, or worse,
its disregard of the charter of its own existence.” Mapp v. Ohio,367 U.S. 643,
659 (1961). HARRIS V. NEW YORK U:S. Supreme Court-401 U.S. 222
(1971). The U.S. Supreme Court has ruled that a natural individual entitled to
relief is entitled to free access to its judicial tribunals and public offices in
every State in the Union (2 Black 620, see also Crandell v. Nevada, 6 Wall 35.
Plaintiff should not be charged fees, or costs for the lawful and constitutional
right to petition this court in this matter in which he is entitled to relief, as it
appears that the filing fee rule was originally implemented for fictions and

subjects of the State and should not be applied to the Plaintiff who is a natural

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individual and entitled to relief. Hale v. Henkel, 201 U.S. 43] HALE v.
HENKEL 201 US. 43 at 89 (1906) Hale v. Henkel was decided by the united
States Supreme Court in 1906. The opinion of the court states: "The
"individual" may stand upon "his Constitutional Rights" as a CITIZEN. He is
entitled to carry on his "private" business in his own way. "His power to
contract is unlimited." He owes no duty to the State or to his neighbors to
divulge his business, or to open his doors to an investigation, so far as it may
tend to incriminate him. He owes no duty to the State, since he receives
nothing there from, beyond the protection of his life and property. "His rights"
are such as "existed" by the Law of the Land (Common Law) "long

antecedent" to the organization of the State", and can only be taken from him
by "due process of law", and "in accordance with the Constitution." "He owes
nothing” to the public so long as he does not trespass upon their rights. " HALE
V. HENKEL 201 U.S. 43 at 89 (1906) Hale v. Henkel is binding on all the
courts of the United States of America until another Supreme Court case says it
isn’t. No other Supreme Court case has ever overturned Hale v. Henkel None
of the various issues of Hale v. Henkel has ever been overruled since 1906,
Hale v. Henkel has been cited by the Federal and State Appellate Court systems
over 1,600 times! In nearly every instance when a case is cited, it has an impact

on precedent authority of the cited case. Compared with other previously

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decided Supreme Court cases, no other case has surpassed Hale v. Henkel in
the number of times it has been cited by the courts. "The rights of the
individuals are restricted only to the extent that they have been voluntarily
surrendered by the citizenship to the agencies of government."

7) I, Pauline; Bauer, do hereby declare as a woman, living soul, that I am Sui
Juris and demand that I, be recognized as such. “Merely being native born
within the territorial boundaries of the United States of America does not make
such an inhabitant, a Citizen of the United States subject to the jurisdiction of
the Fourteenth Amendment.” Elk v. Wilkins, Neb, 5s.ct.41,112 U.S. 99, 28 L.
Ed. 643

8) I, Pauline; Bauer, declare I am NOT Pro Se. That I am as stated Sui Juris,
that I am not here in any representative position. Except as a man. I do NOT
wish to have an attorney or public pretender, they are the very reason I’m here
now in this position. I do NOT Consent. Affiant has no record or evidence that
if Affiant fires any attorney it should ever be questioned, as per; Barr v Day,
124 Wn. 2d 318, at 328 (1994) “Attorney when fired, is fired without
question.” “It is a clearly established principle of law that an attorney must
represent a corporation, it being incorporeal and a creature of the law. An
attorney representing an artificial entity must appear with the corporate charter

and law in his hand. A person acting as an attorney for a foreign principal must

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be registered to act on the principal’s behalf.” See, Foreign Agents Registration
Act” (22 USC § 612 et seq.); Victor Rabinowitz et. at. v. Robert F.
Kennedy,376 US 605. “Failure to file the "Foreign Agents Registrations
Statement" goes directly to the jurisdiction and lack of standing to be before
the court, and is a felony pursuant to 18 USC §§ 219, 951. The conflict of law,
interest and allegiance is obvious. A Lawyer can not make a claim to your
rights , Only you can. Federal District Court Judge James Alger Fee's mind
blowing assertion in United States v. Johnson, 76 F. Supp. 538 (M.D. Pa. 1947)
9) I, Pauline; Bauer, I, am NOT a “PERSON”. I am NOT, a “US CITIZEN”. I,
am NOT an EMPLOYEE of the STATE, UNITED STATES, UNITED
NATIONS, or the DISTRICT of COLUMBIA, and therefore I am NOT subject
to its rules, codes, and statutes.

I, do NOT Consent and I, do NOT Pledge my Allegiance to any other, than my
GOD, for it is by his Grace alone, that I, shall live. ’Since in common usage,
the term ‘person’ does not include the sovereign, statutes employing the phrase
are ordinarily construed to exclude it.” U.S. v. General Motors Corporation,
D.C. Il, 2 FR.D. 528, 530: In common usage the word ‘person’ does not
include the sovereign, and statutes employing the word are generally construed
to exclude the sovereign.” Church of Scientology v. US Department of Justice,

612 F.2d 417 @425 (1979): “the word ‘person’ in legal terminology is

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perceived as a general word which normally includes in its scope a variety of
entities other than human beings., see e.g. 1, U.S.C. § para 1.” In the 1935
Supreme Court case of Perry v. US (294 US 330) the Supreme Court found
that: “In United States, sovereignty resides in people... the Congress cannot
invoke the sovereign power of the People to override their will as thus
declared.”,

10) I, Pauline; Bauer,, declare I, am NOT a Resident of the District of
Columbia or any “districts” so claimed by “The Corporation” and/or any of it’s
Zip Codes calling itself the “UNITED STATES” or any Appellation thereof. I
do NOT consent. Every State law must conform in the first place to the
Constitution of the United States, and then to the subordinate constitutions of
the particular state; and if it infringes upon the provisions of either, it is so far
void.” Houston v. Moore, 18 US 1, 5 L.Ed 19 (1840). It is abiding truth that
“nothing can destroy a government more quickly than its failure to observe its
own laws, or worse, its disregard of the charter of its own existence.” Mapp v.
Ohio,367 U.S. 643, 659 (1961). HARRIS V. NEW YORK U.S. Supreme
Court:401 U.S. 222 (1971). The federal Constitution makes a careful
distinction between natural born Citizens and citizens of the United States**
(compare 2:1:5 with Section 1 of the so-called 14th Amendment). One is an

unconditional Sovereign by natural birth, who is endowed by the Creator with

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certain unalienable rights; the other has been granted the revocable privileges
of U.S.** citizenship, endowed by the Congress of the United States**. One is
a Citizen, the other is a subject. One is a Sovereign, the other is a subordinate.
One is a Citizen of our constitutional Republic; the other is a citizen of a
legislative democracy (the federal zone). Notice the superior/subordinate
relationship between these two statuses.

11) I, Pauline; Bauer, having recently learned of the fraud, do state for the
record that “THERE IS NO CONTRACT” with the “UNITED STATES”,
“STATE OF PENNSYLVANIA”, “ANY COURT”, “JUDGE”, “ATTORNEY”,
“ADMINISTRATOR”, “AGENT” or “POLITICIAN” thereof. That I am
rescinding all signatures. That there has never been present the 8 elements of a
contract or any Full and Honest disclosure. Nor was there ever a time where I
was not under threat and duress. Neither was there, both I, and another(s) wet
ink signatures on any such document(s). I, do NOT Consent. See Below:

Eight Elements of a contract

1. Parties competent to contract The parties to a contract should be competent, being of
the age of consent, of sound mind, not disqualified from contracting by any law to which
s/ he is subject. A flaw in capacity may be due to minority, lunacy, idiocy, drunkenness,
or dissimilarity of kind. The parties should be of the same kind, being either legal fiction
actors, or natural living men/women, allowing more Page than two parties, but never a
mixture of these kinds and their respective jurisdictions.

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2. Free and genuine consent The consent of the parties to the agreement must be free and
genuine. The consent of the parties should not be obtained by misrepresentation, fraud,
undue influence, coercion or mistake. If the consent is obtained by any of these means,
then the contract is not valid or legally/lawfully enforceable.

3. Full disclosure When negotiating a contract, full disclosure is the step of providing all
material information, or telling the “whole truth”, about any matter which may influence
the decision-making of the other party or parties before they decide to enter into a
contract. If either party fails to make full disclosure, the contract is null and void.

4, Valuable consideration The consideration is something of value possessed by the
parties that is brought to the contract table. This something of value is bargained for and
given in exchange for a promise or a performance. The parties must each receive a
benefit and each suffer a detriment. To be enforceable, a contract must have valuable
consideration. A contract is unenforceable if it has insufficient or unequal consideration
without agreement.

5. Certainty of terms - The Terms and Conditions of the contract must be fully disclosed
and agreed upon, and must be certain and fixed. Any subsequent variation of terms must
be agreed.

6. Meeting of the minds A meeting of the minds “consensus ad idem”, occurs between
the parties when they recognize each other, understand their mutual obligations, and
agree. A meeting of the minds occurs between living men/women in lawful matters
(Common Law jurisdiction), and between legal fiction actors in legal matters (Admiralty

Maritime jurisdiction). A contract must be either Lawful or Legal. If one party to a

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contract makes a “signature” as an “accommodation party” to a legal fiction person,
while the other party makes an “autograph” for a living man or woman, the parties are of
unequal kinds, and the contract is null & void.

7. Autographs or Signatures Lawful written contracts between living men/women must
carry the wet ink autographs of the parties, comprising living identification such as a
thumbprint, but more often living standing is recognized by an unambiguous declaration
with the handwritten wet ink autograph, including the prefix “By:”, and/or the words
“All Rights Reserved,” and “Without Prejudice,” written below. Legal written contracts
between legal fiction actors must carry the wet ink signatures of the parties, as an
accommodation from a man/woman.

8. Privity of contract A contract exists only between the parties. No third-party can obtain
rights contained within a contract, or buy or sell a contract, without the express

permission of the original parties.

12) I, Pauline; Bauer, shall only file NOTICES and AFFIDAVITS or
DEMANDS and CLAIMS. If an AFFIDAVIT is not challenged within 21 days
“point by point” it is FACT and shall be on the record as truth and it then shall
become the judgement upon the record. Morris v National Cash Register, 44
S.W. 2D 433, clearly states at point #4 that “uncontested allegations in affidavit
must be accepted as true.”, and the Federal case of Group v Finletter, 108 F.
Supp. 327 states, “Allegations in affidavit in support of motion must be

considered as true in absence of counter-affidavit.”

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13) I, Pauline; Bauer, Claim that no crime by me exists as I have not
knowingly or willfully injured another soul. There was nor never has been any
Intent to harm. "A ‘Statute’ is not a Law,” (Flournoy v. First Nat. Bank of
Shreveport, 197 La. 1067, 3 So.2d 244, 248),] A “Code’ is not a Law,” (In Re
Self v Rhay Wn 2d 261), in point of fact in Law, A concurrent or ‘joint
resolution’ of legislature is not “Law,” (Koenig v. Flynn, 258 N.Y. 292, 179 N.
E. 705, 707; Ward v State, 176 Okl. 368, 56 P.2d 136, 137; State ex rel. Todd v.
Yelle, 7 Wash.2d 443, 110 P.2d 162, 165). All codes, rules, and regulations are
for government authorities only, not Living Souls / Creators in accord with
God’s Laws. “All codes, rules, and regulations are unconstitutional and lacking
due process Of Lav “GRadriques v. Ray Donavan, U.S. Department of Labor,
769 F.2d 1344, 1348 (1985)) "All laws, rules and practices which are repugnant
to the Constitution are null and void" [Marbury v. Madison, Sth US (2 Cranch)
137, 180}

Therefore if the woman/man Calling herself/himself as so named above as
“STATE OF PENNSYLVANIA” or “UNITED STATES” shall come forward in
her/his own flesh body showing acceptable identification, can point me out
across the room identifying I, as having done him/her some injury, I, shall
make amends giving fair and just compensation to discharge this matter. An

impossibility! I believe Ms. Prosecutor is bringing false charges on behalf of

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her imaginary friend. "For a crime to exist, there must be an injured party.
There can be no sanction or penalty imposed upon one because of this exercise
of Constitutional rights."- Sherar v. Cullen, 481 F. 945. 14)

I, Pauline; Bauer,, instruct you to discharge this entire matter, with extreme
prejudice and award the penalties for the crimes to be paid to me in
compensation and damages for bringing false charges and arrest against my
soul. Plus a charge of $1. / per Minute or $1,440. / per day, from date of first
indictment to date of my dismissal and release. Take Notice! This is my fee
schedule. You have ordered off my freedom menu. There is a cost.

15) I, Pauline; Bauer, Demand after dismissal and release that all information
of myself and any fictional entity fraudulently created in my similar name, be
removed/stricken from the record, including all physical and intellectual
property linking me to same.

Canon 2057

- Any Administrator or Executor that refuses to immediately dissolve a Cestui
Que (Vie) Trust, upon a Person establishing their status and competency, is
guilty of fraud and fundamental breach of their fiduciary duties requiring their
immediate removal and punishment. 50 USC 4305 B (2) "Any payment,
conveyance, transfer, assignment, or delivery of property or interest therein,

made to or for the account of the United States, or as otherwise directed,

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pursuant to this subdivision or any rule, regulation, instruction, or direction
issued hereunder shall to the extent thereof be a full acquittance and discharge
for all purposes of the obligation of the person making the same; and no person
shall be held liable in any court for or in respect to anything done or omitted in
good faith in connection with the administration of, or in pursuance of and in
reliance on, this subdivision, or any rule, regulation, instruction, or direction
issued hereunder." (formerly 12 USC 95 (A) (2) 16)

1, Pauline; Bauer,, Demand that if you do not dismiss with extreme prejudice,
that you provide me with a copy of the IRS form 1120, The judges Oath of
Office and Both Public servant Bonds, and copy of all Agents registrations as
Foreign Agents, for my review and for my appeal. Recently, a criminal
complaint and petition was filed in the District Court of New Jersey, Trenton
Division accusing District Court Judge Freda L Wolfson of obstruction of
justice and requesting the release of a federal prisoner, based on the contention
that the judge had no authority to sentence anyone to jail. “Judges are

presumed to know the law or where to find it.” In prepared remarks by
Attorney General Jeff Sessions on September 5, 2017, Sessions stated: “As the
Attorney General, it is my duty to ensure that the laws of the United States are
enforced and that the Constitutional order is upheld. No greater good can be

done for the overall health and well-being of our Republic, than preserving and

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strengthening the impartial rule of law. Societies where the rule of law is
treasured are societies that tend to flourish and succeed.” The petitioner, David
Moleski, a former chiropractor and pilot from Neptune, New Jersey, claims he
was falsely imprisoned when the judge in his criminal trial on mail fraud and
wire fraud charges, sentenced him to 54 months in prison, followed by five
years of supervised release, as well as a $10,000 fine and more than $48,000 in
restitution. Because of the false imprisonment, Moleski’s lawyers requested the
immediate release of their client. The argument presented in the complaint
suggests that Judge Wolfson obstructed justice pursuant to 18 USC § 1512, et.
seq., because she knew in advance that she had no authority to “prosecute,
adjudge, or imprison” Moleski. Attorneys for Moleski and other social justice
groups thoroughly researched the issue and found that the law granting District
Court Judges the authorization to send any defendants in any criminal case to
prison is invalid because the bill that passed the house in 1947 did not match
the one that past the Senate in 1948.

If Public Law 80-772 is indeed not valid, then Moleski and presumably
thousands of other prisoners, were sent to prison illegally. This is a very serious
issue because it would mean that no federal judge currently has authorization to
sentence anyone accused of a federal crime to prison; it would call into

question any criminal case in which a a person convicted of a federal crime

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was sentenced to incarceration. President Truman “signed” Public Law 80-772
into law on June 25, 1948. Thus ostensibly rewrote Title 18 of the United

States Code. However a different bill passed the House in 1947 than passed the
Senate in 1948, rendering that law unconstitutional. Until the Senate and the
House pass the EXACT SAME BILL and the bill is signed by the President or
the bill is not signed and becomes law without signature because BOTH houses
passed the bill, there is no law. Just because the House of Representatives voted
to pass a law does not make it an enforceable law without passage from the
Senate as well. So all you had is a bill passed by the House in 1947 and a
different one passed by the Senate in 1948 and then they have to get together
and negotiate a combined or compromised law for passage of both houses
before it can become law or the law dies. See Article I, Section 7 of the
Constitution. Title 18 also includes 18 U.S.C. § 4081 and 18 U.S.C. § 4082,
which authorizes the transfer of a federal criminal judgment from the U.S.
District Court to the Department of Justice and then from the Department of
Justice to the Bureau of Prisons. However, 18 USC 4081 and 4082 are not in
the Statutes at Large, and do not exist as a matter of law. No transfer of a
judgment is possible, rendering any imprisonment impossible. Researchers
looked at numerous memos from House and Senate Clerks, and they all

confirmed that the bill that passed the House on May 12, 1947 was different

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from the one that passed the Senate in June,1948 and went to Truman’s desk.
According to the argument in the complaint, P.L. 80-772 positively repealed
the previous laws granting jurisdiction to district court judges, which means
District Court Judges effectively have no jurisdiction to either classify
defendants in the Bureau of Prisons or to hold them at all. In other words,
based on their research, even if a judgment was considered valid, judges have
no authority to send anyone to prison. The recent complaint makes the claim
that Judge Wolfson’s acceptance of indictments and the issuance of orders in
Moleski’s case are legally void and thus constitute obstruction of justice
because 18 U.S.C. § 3231 was never legally passed by Congress and neither 18
U.S.C. § 4081 nor 18 U.S.C. § 4082 are valid sections of the statutes at large.
In addition, they claim the denial of the Motion to Dismiss on Sept. 13, 2014
filed by Moleski in Moleski’s’s case it is obstruction of justice because both the
House and the Senate failed to properly pass the same version of P.L. 80-772.
Wolfson is presumed to know that. This is not entirely a new argument. As
early as 2008, the Bureau of Prisons received a large volume of Requests for
Administrative Relief because of the claim that no law currently exists that
grants jurisdiction to District Court Judges to transfer those convicted of a
crime to prison. In 2008 Harley Lappin, then head of the Bureau of Prisons

asked the number 2 person in the Department of Justice to investigate the

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claims. The Department of Justice advised him that the 18 U.S.C. § 3231 is
unconstitutional. Game Over! It has the potential to affect a great many current
and former federal and state prisoners, from both the United States and foreign
countries. 17)

I, Pauline; Bauer, giving NOTICE that I, am quite aware of the Bid sf 273,
Payment sf274, and Performance Bonds sf275, and the fraud associated
therewith. As well as its “Net Retentions”, paid to judges and prosecutors, And,
that the good people are learning of this fraud as well. “DOJ is By far the
largest contributor to the Federal Budget by far”. Department of Fiscal
Services. "Citizens are human capital” (Executive Order 13037) I am aware the
Court is a for profit business, A bank, that judges are bankers, that an
indictment is a true bill, that if the bill is unpaid your charged, that all crimes
are commerce, that the administrator is after the bond of the Cestui Que Vie.
This is all fraud without full and honest disclosure. As a man I refuse to be held
as surety. When I am the creditor. the true holder in due course, I hereby claim
my Estate. 18)

I, Pauline; Bauer,, am quite aware that the UNITED STATES is a Foreign
Entity, the STATE being a Foreign STATE, the Court being a Foreign Entity,
and its Agents being Foreign Agents. This is All a De Facto Government

without any such De Jure Jurisdiction over those living souls it did not create.

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"Once jurisdiction is challenged, the court cannot proceed when it clearly
appears that the court lacks jurisdiction, the court has no authority to reach
merits, but, rather, should dismiss the action." Melo v. US, 505 F2d 1026.
"There is no discretion to ignore that lack of jurisdiction." Joyce v. US, 474
F2d 215. "The burden shifts to the court to prove jurisdiction." Rosemond v.
Lambert, 469 F2d 416. "Court must prove on the record, all jurisdiction facts
related to the jurisdiction asserted." Lantana v. Hopper, 102 F2d 188; Chicago
v. New York, 37 F Supp 150. "A universal principle as old as the law is that a
proceedings of a court without jurisdiction are a nullity and its judgment
therein without effect either on person or property." Norwood v. Renfield, 34 C
329; Ex parte Giambonini, 49 P. 732. "Jurisdiction is fundamental and a
judgment rendered by a court that does not have jurisdiction to hear is void ab
initio." In Re Application of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846. "Thus,
where a judicial tribunal has no jurisdiction of the subject matter on which it
assumes to act, its proceedings are absolutely void in the fullest sense of the
term." Dillon v. Dillon, 187 P 27. "A court has no jurisdiction to determine its
own jurisdiction, for a basic issue in any case before a tribunal is its power to
act, and a court must have the authority to decide that question in the first
instance." Rescue Army v. Municipal Court of Los Angeles, 171 P2d 8; 331 US

549, 91 L. ed. 1666, 67 S.Ct. 1409. "A departure by a court from those

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recognized and established requirements of law, however close apparent
adherence to mere form in method of procedure, which has the effect of
depriving one of a constitutional right, is an excess of jurisdiction." Wuest v.
Wuest, 127 P2d 934, 937. "Where a court failed to observe safeguards, it
amounts to denial of due process of law, court is deprived of juris." Merritt v.
Hunter, C.A. Kansas 170 F2d 739. "the fact that the petitioner was released on
a promise to appear before a magistrate for an arraignment, that fact is
circumstance to be considered in determining whether in first instance there
was a probable cause for the arrest." Monroe v. Papa, DC, II. 1963, 221 F
Supp 685. 19)

I, Pauline; Bauer, declare that if not promptly discharged, pursuant to FrCrimP
12(b)(2)(3) to declare the indictment and case void, ab initio. I will be
requiring leave of court and my false imprisonment, so that I may bring forth
an actual and proper verifiable CLAIM before the court to address these
Crimes and Trespasses against me in the proper venue against those individual
souls responsible for these serious crimes. 1.e. Trespasses such as, Bringing
False Charges, False Imprisonment, Misprison of Felony, Unlawful
Conversion, Barratry, Fraud, Unjust Enrichment, Involuntary
Servitude/Slavery, Personage, Peonage, Press ganging, Defamation of

Character, and others. Trezevant v City of Tampa, 741 F.2d 336, (11th Cir, 9-6-

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1984) US Court of Appeal awarded $65,217.39/hour for false imprisonment.
In, Hafer v. Melo, 502 US 21 (1991) The US Supreme Court ruled that public
Officials who cause "Unauthorized Deprivations" lose their Eleventh
Amendment Protection and are subject to suit for damages under 42 USC
1983. This Case before the US Court of Appeals is found at 912 Fed 2d 628.
The key is negligence: acting in excess or without authority or jurisdiction or
failing to act when required to do so. Also read Melo v Hafer, 912 F 2d 628
(1990). Westfall v Erwin, 484 US 292 (1988); Will v Michigan State Police,
491 US 58 (1989); and Mitchum v Foster, 407 US 225 (1972).PL 94-381 and
Senate Report 94-204, 28 USC § 2284. "When lawsuits are brought against
federal officials, they must be brought against them in their "individual"
capacity not their official capacity. When federal officials perpetrate
constitutional torts, they do so ultra vires (beyond the powers) and lose the
shield of immunity." Williamson v. U.S. Department of Agriculture, 815 F.2d.
369, ACLU Foundation v. Barr, 952 F.2d. 457, 293 U.S. App. DC 101, (CA DC
1991). "It is the duty of all officials whether legislative, judicial, executive,
administrative, or ministerial to so perform every official act as not to violate
constitutional provisions. "Montgomery v state 55 Fla. 97-45S0.879 a.
"Inasmuch as every government is an artificial person, an abstraction, and a

creature of the mind only, a government can interface only with other artificial

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persons. The imaginary, having neither actuality nor substance, is foreclosed
from creating and attaining parity with the tangible. 20)

I, Pauline; Bauer, Declare that, The words used are the words of the Author,
and are plain, concise and commonly recognized English and should not be

used or twisted in legalese. I, do NOT Consent. Simple words such as "person"

"ou "tt

"citizen" "people" "or" "nation" "crime" "charge" "right" "statute" "preferred"

"prefer" "constitutor" "creditor" "debtor" "debit" "discharge" "payment" "law"
and "United States" do not mean what we think they mean, because we were
never taught the legal definitions of the above words. No full and honest
disclosure = fraud. For Fraud vitiates all contracts. “Fraud vitiates everything”
Boyce v. Grundy, 3 Pet. 210 "Fraud vitiates the most solemn contracts,
documents and even judgments." U.S. v. Throckmorton, 98 US 61
“WHEREAS, officials and even judges have no immunity.” See, Owen vs. City
of Independence, 100 S Ct. 1398; Maine vs. Thiboutot, 100 S. Ct. 2502; and
Hafer vs. Melo, 502 U.S. 21; Page 54 of 99 Title 28 USC 3002 Section 15A
states United States is a Federal Corporation an not a government, including
the Judicial Procedural Section. 21)

I, Pauline; Bauer, Declare that Upon my indictment, arrest, being finger

printed , and to this date below Autographed, that at No Time during this

process, have I, been afforded my Rights. In Fact I, have been Terrorized, My

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Religious rights violated. This being an extreme trespass on my soul. The
Prosecuting Attorney merely an actor on a stage with a motive for profit, made
numerous false statements, using hearsay evidence, and without any first hand
witnesses and making motions to deny me a fair trial. My so called Stand -By
Attorney defender merely another actor on a stage, a woman trained in the law,
should have known to object to the hearsay and other lies, should have told me
about my rights and my status, and what it means to even have her as a
representative, she should’ve explained of the unlawful conversion of my name
into a Person or entity, denying me of standing, this was false and placed me in
an incompetent position as a woman. She should of explained resident and the
use of Zip Code and it’s legal meaning. Just one more reason for the Case to be
dismissed immediately, without Prejudice, without Recourse. "The prosecutor
is not a witness; and she should not be permitted to add to the record either by
subtle or gross improprieties. Those who have experienced the full thrust of the
power of government when leveled against them know that the only protection
the citizen has is in the requirement for a fair trial." Donnelly v. Dechristoforo,
1974.SCT. 41709 56; 416 U.S. 637 (1974) Mr. Justice Douglas, dissenting.
More fraud continued, was this fully disclosed? The US Government and it’s
subsidiaries is Bankrupt! The Bankruptcy of The United States In the United

States Congressional Record, March 17, 1993 Vol. #33, page H-1303, Speaker-

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Senator James Traficant, Jr. (Ohio) addressing the House: "Mr. Speaker, we are
here now in chapter 11. Members of Congress are official trustees presiding
over the greatest reorganization of any Bankrupt entity in world history, the
U.S. Government. We are setting forth hopefully, a blueprint for our future.
There are some who say it is a coroner's report that will lead to our demise." It
is an established fact that the United States Federal Government has been
dissolved by the Emergency Banking Act, March 9, 1933, 48 Stat. 1, Public
Law 89-719; declared by President Roosevelt, being bankrupt and insolvent.
H.J.R. 192, 73rd Congress m session June 5, 1933 - Joint Resolution To
Suspend The Gold Standard and Abrogate The Gold Clause dissolved the
Sovereign Authority of the United States and the official capacities of all
United States Governmental Offices, Officers, and Departments and is further
evidence that the United States Federal Government exists today in name only.
The receivers of the United States Bankruptcy are the International Bankers,
via the United Nations, the World Bank and the International Monetary Fund.
All United States Offices, Officials, and Departments are now operating within
a de facto status in name only under Emergency War Powers. With the
Constitutional Republican form of Government now dissolved, the receivers of
the Bankruptcy have adopted a new form of government for the United States.

This new form of government is known as a Democracy, being an established

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Socialist/Communist order under a new governor for America. This act was
instituted and established by transferring and/or placing the Office of the
Secretary of Treasury to that of the Governor of the International Monetary
Fund. Public Law 94-564, page 8, Section H.R. 13955 reads in part: "The U.S.
Secretary of Treasury receives no compensation for representing the United
States?' United States Congressional Record May 4, 1992, page H 2891,
Senator and Chairman of the House of Representatives Committee on Banking,
Finance and Urban Affairs, Senator Henry Gonzalez (Texas) speaking on
"NATIONAL AND INTERNATIONAL THIEVERY IN HIGH PLACES" said
"We are bankrupted. We are insolvent on every level of our national life,
whether it is corporate, whether it is just plain you and I out there with the life
of debt that we have all piled up, private debt, credit cards and what not or
whether it is the government. We are insolvent. How long will it take before
that nasty Mega-truth is conveyed?’ United States Congressional Record
January 19, 1976, page 240 Marjorie S. Holt (Maryland): "Mr. Speaker, many
of us recently received a letter from the World Affairs Council of Philadelphia,
inviting members of Congress to participate in a ceremonial signing of "A
Declaration of INTERdependence" on January 30 in Congress Hall, adjacent to
Independence Hall in Philadelphia. A number of Members of Congress have

been invited to sign this document, lending their prestige to its theme, but I

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want the record to show my strong opposition to this declaration. It calls for the
surrender of our national sovereignty to international organizations. It declares
that our economy should be regulated by international authorities. It proposes
that we enter a "New World Order" that would redistribute the wealth created
by the American people. Mr. Speaker, this is an obscenity that defiles our
Declaration of Independence, signed 240+ years ago in Philadelphia. We
fought a great Revolution for independence and individual liberty, but now it is
proposed that we participate in a world socialist order. Are we a proud and free
people, or are we a carcass to be picked by the jackals of the world, who want
to destroy us? When one cuts through the high-flown rhetoric of this
"Declaration of INTERdependence," one finds key phrases that tell the story.
For example, it states that 'The economy of all nations is a seamless web, and
that no one nation can any longer effectively maintain its processes of
production and monetary systems without recognizing the necessity for
collaborative regulation by international authorities.' How do you like the idea
of “international authorities" controlling our production and our monetary
system, Mr. Speaker? How could any American dedicated to our national
independence and freedom tolerate such an idea? America should never subject
her fate to decisions by such an assembly, unless we long for national suicide.

Instead, let us have independence and freedom....If we surrender our

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independence to a "new world order"...,we will be betraying our historic ideals
of freedom and self-government. Freedom and self-government are not
outdated. The fathers of our Republic fought a revolution for those ideals,
which are as valid today as they ever were. Let us not betray freedom by
embracing slave masters; let us not betray selfgovernment with world
government; let us celebrate Jefferson and Madison, not Marx and Lenin? A
dollar is a measure of weight defined by the Coinage Act of 1792 and 1900
which is still in force today. A "dollar" specifies a certain quantity, 24.8 grains
of gold, or 371.25 grains of silver. In Black's Law Dictionary, sixth Edition,
Dollar: "The money unit employed in the United States of the value of one
hundred cents, or of any combination of coins totaling 100 cents?" Cent: "A
coin of the United States, the least in value of those now minted. It is the
hundredth part of a dollar?" Gold and silver were such a powerful money
during the founding of the united states of America, that the founding fathers
declared that only gold or silver coins can be "money" in America. Since gold
and silver coinage were heavy and inconvenient for a lot of transactions, they
were stored in banks and a claim check was issued as a money substitute.
People traded their coupons as money, or "currency." Currency is not money,
but a money substitute. Redeemable currency must promise to pay a dollar

equivalent in gold or silver money. Federal Reserve Notes (FRNs) make no

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such promises, and are not "money." A Federal Reserve Note is a debt
obligation of the federal United States government, not "money?' The federal
United States government and the U.S. Congress were not and have never been
authorized by the Constitution for the united states of America to issue
currency of any kind, but only lawful money, -gold and silver coin. It is
essential that we comprehend the distinction between real money and paper
money substitute. One cannot get rich by accumulating money substitutes, one
can only get deeper into debt. We the People no longer have any "money."
Most Americans have not been paid any "money" for a very long time, perhaps
not in their entire life. Now do you comprehend why you feel broke? Now, do
you understand why you are "bankrupt," along with the rest of the country?
Federal Reserve Notes (FRNs) are unsigned checks written on a closed
account. FRNs are an inflatable paper system designed to create debt through
inflation (devaluation of currency). When ever there is an increase of the
supply of a money substitute in the economy without a corresponding increase
in the gold and silver backing, inflation occurs. Inflation is an invisible form of
taxation that irresponsible governments inflict on their citizens. The Federal
Reserve Bank who controls the supply and movement of FRNs has everybody
fooled. They have access to an unlimited supply of FRNs, paying only for the

printing costs of what they need. FRNs are nothing more than promissory notes

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for U.S. Treasury securities (T-Bills) - a promise to pay the debt to the Federal
Reserve Bank. There is a fundamental difference between "paying" and
"discharging" a debt. To pay a debt, you must pay with value or substance (i.e.
gold, silver, barter or a commodity). With FRNs, you can only discharge a debt.
You cannot pay a debt with a debt currency system. You cannot service a debt
with a currency that has no backing in value or substance. No contract in
Common law is valid unless it involves an exchange of "good & valuable
consideration." Un-payable debt transfers power and control to the sovereign
power structure that has no interest in money, law, equity or justice because
they have so much wealth already. Their lust is for power and control. Since
the inception of central banking, they have controlled the fates of nations. The
Federal Reserve System is based on the Canon law and the principles of
sovereignty protected in the Constitution and the Bill of Rights. In fact, the
international bankers used a “Canon Law Trust" as their model, adding stock
and naming it a "Joint Stock Trust." The U.S. Congress had passed a law
making it illegal for any legal "person" to duplicate a "Joint Stock Trust" in
1873. The Federal Reserve Act was legislated post-facto (to 1870), although
post-facto laws are strictly forbidden by the Constitution. [1:9:3] The Federal
Reserve System is a sovereign power structure separate and distinct from the

federal United States government. The Federal Reserve is a maritime lender,

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and/or maritime insurance underwriter to the federal United States operating
exclusively under Admiralty/Maritime law. The lender or underwriter bears the
risks, and the Maritime law compelling specific performance in paying the
interest, or premiums are the same. Assets of the debtor can also be
hypothecated (to pledge something as a security without taking possession of
it.) as security by the lender or underwriter. The Federal Reserve Act stipulated
that the interest on the debt was to be paid in gold. There was no stipulation in
the Federal Reserve Act for ever paying the principle. Prior to 1913, most
Americans owned clear, allodial title to property, free and clear of any liens or
mortgages until the Federal Reserve Act (1913) "Hypothecated" all property
within the federal United States to the Board of Governors of the Federal
Reserve, -in which the Trustees (stockholders) held legal title. The U.S. citizen
(tenant, franchisee) was registered as a "beneficiary" of the trust via his/her
birth certificate. In 1933, the federal United States hypothecated all of the
present and future properties, assets and labor of their "subjects," the 14th
Amendment U.S. citizen, to the Federal Reserve System. In return, the Federal
Reserve System agreed to extend the federal United States corporation all the
credit "money substitute" it needed. Like any other debtor, the federal United
States government had to assign collateral and security to their creditors as a

condition of the loan. Since the federal United States didn't have any assets,

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they assigned the private property of their "economic slaves", the U.S. citizens
as collateral against the un-payable federal debt. They also pledged the
unincorporated federal territories, national parks forests, birth certificates, and
nonprofit organizations, as collateral against the federal debt. All has already
been transferred as payment to the international bankers. Unwittingly, America
has returned to its pre-American Revolution, feudal roots whereby all land is
held by a sovereign and the common people had no rights to hold allodial title
to property. Once again, We the People are the tenants and sharecroppers
renting our own property from a Sovereign in the guise of the Federal Reserve
Bank. We the people have exchanged one master for another. This has been
going on for over eighty years without the "informed knowledge" of the
American people, without a voice protesting loud enough. Now it's easy to
grasp why America is fundamentally bankrupt. Why don't more people own
their properties outright? Why are 90% of Americans mortgaged to the hilt and
have little or no assets after all debts and liabilities have been paid? Why does
it feel like you are working harder and harder and getting less and less? We are
reaping what has been sown, and the results of our harvest is a painful
bankruptcy, and a foreclosure on American property, precious liberties, and a
way of life. Few of our elected representatives in Washington, D.C. have dared

to tell the truth. The federal United States is bankrupt. Our children will inherit

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this un=payable debt, and the tyranny to enforce paying it. America has
become completely bankrupt in world leadership, financial credit and its
reputation for courage, vision and human rights. This is an undeclared
economic war, bankruptcy, and economic slavery of the most corrupt order!
Wake up America! Take back your Country. The Federal Reserve: An
Astounding Exposure 1934 All of the above was published in the
Congressional Record March 17, 1993 Volume #33, Page H-1303 by Senator
James Trafficant, Jr. Since the total national debt is larger than the total supply
of money substitutes and the personal income tax is used solely to pay only the
interest on the national debt, paying off the principle and interest of the
national debt is a legal impossibility. THE LAW DOES NOT PERMIT
IMPOSSIBILITIES PLEASE NOTE: IF A CORPORATION IS BANKRUPT
IN LAW IT IS SAID TO BE CIVILLY DEAD AND NOT A REAL PARTY IN
INTEREST WHICH HAS ANY RIGHTS TO MAKE CLAIMS OR TO SUE
ANYBODY. The STATE OF PENNSYLVANIA IS ITS SUBSIDIARY! IT
ALSO MEANS YOU CAN’T BE SUED BY THAT CIVILLY DEAD
CORPORATION OF PERSON. FRAUD The thing about fraud is that... At
some point in time it must be recognized, learned, and vitiated. Only then is
justice obtained. Take a hard long look at the below...

¢ British Accreditation Registry

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¢ 1947 BAR Association treaty

¢ Foreign Agents Registration Act

¢ Office of the attorney general for state in history, was put in place to protect
and uphold the interest of the Crown Inc. The lawyer (BAR) trade craft at
work! Utterly Shameful In 1950, the 81st Congress investigated the Lawyers
Guild and determined that the B.A.R. Association is founded and run by
communists under definition. Thus, any elected official that is a member of the
B.A.R. will only be loyal to the B.A.R. and not the people. Lawyer’s Secret
Oath “It is a clearly established principle of law that an attorney must represent
a corporation, it being incorporeal and a creature of the law. An attorney
representing an artificial entity must appear with the corporate charter and law
in his hand. A person acting as an attorney for a foreign principal must be
registered to act on the principal’s behalf.” See, Foreign Agents Registration
Act” (22 USC § 612 et seq.); Victor Rabinowitz et. at. v. Robert F.
Kennedy,376 US 605. “Failure to file the "Foreign Agents Registrations
Statement" goes directly to the jurisdiction and lack of standing to be before
the court, and is a felony pursuant to 18 USC §§ 219, 951. The conflict of law,
interest and allegiance is obvious. A Lawyer can not make a claim to your
rights, Only you can. Federal District Court Judge James Alger Fee's mind

blowing assertion in United States v. Johnson, 76 F. Supp. 538 (M.D. Pa. 1947)

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USS. District Court for the Middle District of Pennsylvania - 76 F. Supp. 538
(M.D. Pa. 1947) February 26, 1947 , Congress cannot by legislation enlarge the
federal jurisdiction, and it cannot be enlarged under the treaty making power.”
Mayor, Alderman and Inhabitants of City of New Orleans v. U.S., 35 U.S. 662,
10 Pet. 662, 9 L.Ed. 573 (1836). And; 18 U.S. Code § 661 - Within special
maritime and territorial jurisdiction Current through Pub. L. 114-38. (See
Public Laws for the current Congress.) Whoever, within the special maritime
and territorial jurisdiction of the United States, takes and carries away, with
intent to steal or purloin, any personal property of another shall be punished as
follows: If the property taken is of a value exceeding $1,000, or is taken from
the person of another, by a fine under this title, or imprisonment for not more
than five years, or both; in all other cases, by a fine under this title or by
imprisonment not more than one year, or both. 18 U.S. Code § 1341 - Frauds
and swindles Current through Pub. L. 114-38. (See Public Laws for the current
Congress.)

Whoever, having devised or intending to devise any scheme or artifice to
defraud, or for obtaining money or property by means of false or fraudulent
pretenses, representations, or promises, or to sell, dispose of, loan, exchange,
alter, give away, distribute, supply, or furnish or procure for unlawful use any

counterfeit or spurious coin, obligation, security, or other article, or anything

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represented to be or intimated or held out to be such "COUNTERFEIT" or
spurious article............. et seq. 5 CFR 2635.101 - Basic obligation of public
service. § 2635.101 Basic obligation of public service. Agents of foreign
principals Any agent of a person described in section 611(b)(2) of this title or
an entity described in section 611(b)(3) of this title if the agent has engaged in
lobbying activities and has registered under the Lobbying Disclosure Act of
1995 [2 U.S.C. 1601 et seq.] in connection with the agent’s representation of
such person or entity. (June 8, 1938, ch. 327, § 3, 52 Stat. 632; Aug. 7, 1939,
ch. 521, § 2, 53 Stat. 1245; Apr. 29, 1942, ch. 263, § 1, 56 Stat. 254; Pub. L.
87-366, § 2, Oct. 4, 1961, 75 Stat. 784; Pub. L. 89-486, § 3, July 4, 1966, 80
Stat. 246; Pub. L. 104— 65, § 9(2), (3), Dec. 19, 1995, 109 Stat. 700; Pub. L.
105-166, § 5, Apr. 6, 1998, 112 Stat. 39.)

All "public servants," officials, Congressmen, politicians, judges, attorneys,
law enforcement officers, States and their various agencies, etc., are the express
agents of these foreign principals - see Foreign Agents Registration Act of
1938; 22 USC 286 et seq, 263A, 185G, 267J, 611(C) (ii) & (iii); Treasury
Delegation Order #91 information how to file and education Whereas : "
Failure to file the " Foreign Agents Registration Statement " goes directly to the
jurisdiction and lack of standing to be before the Court and is a FELONY"

pursuant to 18 US 219, 951 " Failure to file the " Foreign Agents Registration

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Statement " goes directly to the jurisdiction and lack of standing to be before
the Court and is a FELONY" pursuant to 18 US 219, 951 - I, ask have you
registered as a foreign agent? For the Bar Members to See and Know--- And
Everyone Else, Too Read it, Bar Members, and weep. The Role of Counselors-
at—Law and The [unincorporated] Delaware Statutory Trusts Remember when
you were told you that you "had to have a Social Security Number"?
Sometimes, that is true, but only if you are applying for employment with the
federal government. For of course, you would need it to enroll in their
retirement and employee benefits program....but you don’t have to have one
otherwise. It is the same scenario with the Bar Associations telling new JD
graduates that they have to have a Bar Card....again, that is true, if they want to
be a prosecutor for the federal government corporations and their "federated
state of state franchises" and become an employee of the court............ but not
otherwise. The fact is that there is no requirement for anyone to be a Bar
Association Member to engage in the profession of law in this country and
there never have been. I challenge anyone anywhere to prove that there is any
general requirement to be a Bar Member, in order to use the court facilities,
present cases, or offer effective counsel to others with or without pay.

The fact is that the perpetuation of these "mandatory" Social Security

enrollment and Bar Association Membership half-truths are undertaken in self-

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interest by undeclared foreign interests. Research the Foreign Agents
Registration Act (FARA) if you have doubts and also see Trinsey v. Pagliaro
and the cases that Robert F. Kennedy fought pertaining to these very issues.
Happily, quite a number of some of the best minds working in the profession of
law today have awakened to this realization and they are turning in their Bar
cards and leaving the association to stew in its own juice. This was precipitated
as a direct result of Bar Associations kicking members out for committing the
sin of actually defending and protecting their clients' best interest, as well as, a
result of lawyers waking up and going, "OMG!" -- and exiting as fast as their
feet would get them out the door. The lawyers among us are waking up along
with the rest of the populace and realizing that they have been sold a total bill
of goods, and don’t have to spend their lives being professional “liars”. The
fact is, lawyers can function either as attorneys-at-law or as counselors-atlaw.
These are "capacities" within the profession in which a lawyer can choose to
work, [just as you can choose to work in the capacity of a hotel manager or a
hotel bartender and still be working in a hotel]. Attorneys join the Bar to gain
group insurance and bonding benefits. [Also so their buddies in the fraternity
will gang up on any outsiders]. Counselors pay their own insurance and bonds
and otherwise don't have any reason to join the Bar, because they aren't

involved in the disposition of public property or addressing issues related to

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public employees-- that is, they aren't working in administrative capacities as
members of an administrative court. Attorneys-at-law traditionally function as
property managers involved in the administration of civil cases in Article I
courts dealing with in-house legislative "laws" and statutes.

This is why those working in administrative courts supported by the United
States Districts, the Territorial States of States, and the Municipal STATES OF
STATES are all required to be "attorneys" and Bar Members by their
employers. Attorneys work in administrative tribunals. Not judicial courts. This
fact accounts for these frank admissions about the nature of the federal
territorial and municipal courts and their various state-of-state franchises
apenating on our shores: “There are no Judicial courts in America and there has
not been since 1789, Judges do not enforce Statutes and Codes. Executive
Administrators enforce Statues and Codes. There have not been any Judges in
America since 1789. There have just been Administrators." FRC v. GE 281 US
464, Keller v. PE 261 US 428 1 Stat. 138-178. "Courts are Administrative
Tribunals" Clearfield Trust, et al v. United States 318 U.S. 363 (1943).
Counselors-at-law traditionally function in judicial court capacities and have
the duty to protect and defend their living clientele, unlike their attorney-at-law
brethren who are limited to dealing with public property and public employees

and incorporated "things", either belonging to or working for or working with

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the government corporations.

Naturally, when a counselor-at-law appears a number of things are different
about the nature and tenor of the proceedings: A counselor-at-law is not
required to enter an appearance prior to a court date and may simply walk in
with a brief explanation to the judge that he or she is working in the capacity of
a counselor-at-law and providing effective assistance to the Plaintiff or
Defendant. Often, to further clarify things, the judge will ask if the counselor-
at-law is a member of the Bar Association....... If not, the proper response is
simply, "I don't have a card (or more properly, a "ticket") with the Bar." This is
referring obliquely to the Bid Bond that the Bar Associations post in maritime
cases involving incorporated entities, thus, further signaling to the judge that
the Plaintiff or Defendant is appearing in the capacity of a living man or
woman and that the court has to shift gears from international sea jurisdiction
to international land jurisdiction. The first difference for the court's notice
when a counselor-at-law appears is the explicit revelation of the capacity in
which the Plaintiff/Defendant is operating. If he or she is operating in their
actual, living capacity as a man or woman standing on the land jurisdiction of
the United States, they are owed all their constitutional rights and guarantees
including a counselor-at-law who can advise them but not "represent" them,

because they are presumed to be free people above the age of twenty-one and

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competent to make their own decisions. That's why they have hired a
counselor-at-law instead of an attorney. That is also why they are forcing the
court to engage them as people under the Public Law of the United States or
the General Session Law of the State instead of as "things" subject to the
Private Administrative Law of any foreign territorial or municipal corporation
or state of state or incorporated county franchise tribunal. Attorneys represent
"things" --- corporate franchises, wards of the state, bankrupt businesses,
murdered victims of crime, mentally incompetent people, -- all things that
cannot "stand for" or answer for themselves. That is why they have to be "re-
presented" by a substitute acting "for" them. Counselors-at-law assist in
presenting cases for living people. Notice the difference: attorneys "represent"
and administer the affairs of their clients often without regard for or even
consulting with their clients. For example, they cut plea-bargains and waive
rights and sell off property in whatever way best benefits the court. This is
because they work for the court and the client is at best considered a public
trust subject to the court's administration. [And this is true whether you pay the
traitor or not]. Notice that counselors-at-law "present" cases with and for their
patrons, who administer their own affairs and make their own decisions
throughout the proceedings, retain all their rights and prerogatives and do not

willingly subject themselves to the court's administration. Now, obviously,

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from the court's standpoint, it is very convenient to be able to dictate whatever
happens in each and every case, so as to "administer" it as best suits the "public
good" and the "good of the court" ---and the court's corporate employers, of
course, without regard for any such niceties as equity owed to living people, or
any rights owed to living people. Just as obviously, it is a death knell to justice
and an end to all freedom for living people to allow this state of affairs to go
on. When even the lawyers among us are so dumbed down and ignorant
that they think the Bar Association has the power to obstruct them from
pursuing their vocation, it's time to outlaw the Bar Associations, because
they are clearly overstepping any rational function or status that they
have. U.S. District, State of State and STATE OF STATE courts can demand
whatever credentials they wish from people that they hire to represent their
interests, just as other private and public interests can demand whatever
credentials they desire from their employees. If a "State of State" Legislature
can pass a statutory "law" saying that all its court officials have to be Bar
Association Members, our State Legislatures can just as easily pass a General
Session law saying that none of our courts will allow Bar Association
Members. Take Note: State of Wyoming is a Territorial Franchise Court.
STATE OF WYOMING is a Municipal Franchise Court............. Both of

these are foreign corporation franchises like the local Target store. They are

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limited to running administrative tribunals and they can require all the people
in their "court system" to be Bar Association members until the cows come
home, because these are private administrative tribunals. But the Wyoming
State Court belongs to the people of Wyoming and they run judicial courts of
record that are superior to any private administrative tribunals and they can
mandate that no Bar Association members are allowed to practice law in their
venue ---thereby providing plenty of work for counselors-at-law. That this great
country and its people have been hoodwinked and pulled off course for so long
by selfish private interests is an immense and horrifying Breach of Trust, but it
is one that is being swiftly rectified, when we change/ correct our own
presumed political status and consequently change the "presumed" capacity in
which we choose to act in court; while changing the capacity in which lawyers
act. To all former Bar Attorneys and those who are [currently] thinking
seriously of tearing up their [fraud] cards? It is time to face the truth and
set yourselves free of the imaginary shackles that the Bar Associations
have placed on you. You can enter any court in this country in the capacity of
a Counselor-at-Law and there is nothing any of the courts can say except, "Yes,
of course...." The truth is, Juris = law and diction = words LEGAL NOTICE
LETTER You are being given knowledge Point 1 A. Affiant has no memorial

or evidence that Libellee(s) have not used Fictitious Conveyance of Language

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against A ffiant leading to various connected meshing directives founded,
multiplied, quickened and executed as fraud to the conclusion of creating pain
and suffering to Affiant. ADMIT - Libellee(s) confess as being true for the guilt
of utilizing as a scheme against Affiant: Fictitious Conveyance of Language to
Libellee(s) augmentation of wealth contrary to justice as to lead to Affiants
pain and suffering. NOW , EXHIBIT 1 A— TAKE Heed of Fictitious

Conveyance of Language BEHOLD THE EVIDENCE: For with its several
points is written in event continuum format to bring clarity to the various
Points to contend with that view the fact that one point leads to another and the
end event is connected to the beginning event with Points to be "set off" in
brackets "[ ]".

INTRODUCTION: For as the Attorney for the Plaintiff does work for a Law
Firm that is a corporate/ fiction to carry out a function through the use of a
false conveyance of language is "Deceptive Trade Practices": likened to a
behavior that is harmful and does create a victim from "ill-gotten gain" to the
treasuries of each corporation being utilized. For please bear in mind that
governments are corporations and legislative court systems are for profit "Also
Trades As" corporations with very few safeguards in place to shield the private
man. These corporations create fear in the minds of the less fortunate men and

women that without knowledge and consciousness yield to an Attorney or a

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Judge fixed to a corporation that send them into involuntary servitude through
the use of false conveyance of language. For as it is mandatory PER 26: C.F.R.:
601.72(a)-1 that organizations (hereafter 'structures') within the government are
to publish the nature of the 'structures' and how they are composed. There is no
public transparency of the true nature of the 'structures' that are calling for
monies, fees, fines, penalties, licensing and or pursuing living souls for redress
or punishment. There is no public transparency that the 'structure' of the court
is ‘structured’ as legislative foreign fiction that is using subjective spin, legal
fictions, and the like. For the memorials of the judicial system manipulate job
titles to confuse and dominate the measures where there are consequences for a
man when he holds manipulated memorials to be of true and in harmony with
these false meanings without transparency of the true knowledge to whom he is
speaking to and what authority is being exercised by the person he is
consigning as to whether the person is behaving in his capacity as a judge,
banker, legislator or a Post Master. For when seeking a law dictionary to define
a Judge it says: see Banker and when arriving to Banker it says: see Post
Master: So a judge is also a banker, legislator and Post Master. BEGINNING
OF POINTS: IN PARSE SYNTAX GRAMMAR Lack of full transparency
combined with the use of verb language (versus truth language, noun language)

does cause Libellee(s) to be charged with breaching Title 18 §1001, for their

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[Point 1 A - a] false statements and Title 18 §1002, for their [Point 1 A - b]
false papers against Defendant(s) hereafter the party that opposes a complaint.
The 'structures' of the system, the false statements and false papers that place
the Defendant(s) at a legal disability. For the party that opposes a complaint
claim our handicapped status of Title: 29: U. S. Codes: 706(8)(a), and claim a
breach of Title 29: U. S. Codes: 701(C)(2): the Policy for the [Point 1 A - c]
rights of the handicapped: since the government is legally bound by Title: 42:
ch: 126: 12182(2)(A) (iv) to make efforts to eliminate communication barriers
that hinder the handicapped of which it did create. For the Attorney(s) for the
Plaintiff and the court do fully capitalize each name and aim to direct the
pleadings to the fictional NOM DE GUERRE, PERSONATE false person
name is a breach of Title 18: U. S. CODES: §1342: [Point 1 A - d] the use of
Fiction names against living-souls is a breach of Title 18 U. S. CODES §1341
[Point 1 A - e] to cause a Fraud and Swindle. For the defendant(s) by showing
their true identity in upper and lowercase lettering with punctuation, the court
is in breach of F.R.C.P. RULE:10(a): [Point 1 A - f] using the proper name of
the Party, and a breach of F.R.C.P. RULE: 17, [Point 1 A - g] only the real party
of concern can be sued in the admiralty. For the logical purpose for a man or
woman to knowingly (title 42 § 1986) execute such a deed is to hold a system

together to benefit the Plaintiff at the expense of the Defendant(s) which is a

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breach of: Title: 42: 1985(3) [Point 1 A - h] Deprivation of our Rights. For as
the Plaintiffs Attorneys and the court are in breach of Title: 18: 1961 [Point 1 A
- i] Racketeering-activity, and a breach of Title: 42: 1985(2) [Point 1 A - j]
Obstruction of the Justice, causing a breach of Title: 42: CH. 21: 1983 [Point 1
A - k] Personal Injury, and a breach of Title: 42: 1983: NOTE: 39 [Point 1 A -
1] Civil Deprivation of the Rights, and a breach of Title: 42: 1983: NOTE: 319
and NOTE: 337 [Point 1 A - m] Custom & Policy and a breach of Title: 18: 241
[Point 1 A - n] Conspiracy against Rights, causing a breach of Title: 18: 242
[Point 1 A - 0] Deprivation of the Rights under Color of Law, and a breach of
Title: 18: 872 [Point 1 A - p] Collusion/ Coercion, and a breach of Title: 18:
Ch.73:§1512 [Point 1 A - q] criminal Obstruction of the Justice, ending with a
breach of Title: 28: §: 1359 [Point 1 A - r] Loss of the Jurisdiction by
Collusion, all with a breach of Title: 4: §: 3 [Point 1 A - s] which is to violate
the sacred character of our nation's flag. 1942 CLEARFIELD TRUST
SUPREME COURT RULING (i) “Governments descend to the level of a mere
private corporation and take on the character of a mere private citizen” [where
private corporate commercial paper Federal Reserve Notes are
concerned....“For purposes of suit, such corporations and individuals are
regarded as an entity entirely separate from government.” Clearfield Trust

Company v. United States, 318 U.S. 363 (1943); Bank of United States v.

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Planters Bank, 9 Wheaton (22 U.S.) 904, 6 L.Ed. 24 (1824). (ii) "Governments
descend to the Level of a mere private corporation, and take on the
characteristics of a mere private citizen...where private corporate commercial
paper Federal Reserve Notes and securities checks is concerned. ... For
purposes of suit, such corporations and individuals are regarded as entities
entirely separate from government." - Clearfield Trust Co. v. United States 318
U.S. 363-371 (1942). This case is critical because it is a 1942 case that was
fully settled after the UNITED STATES CORPORATION COMPANY filed its
"CERTIFICATE OF INCORPORATION" in the State of Florida (July 15,
1925). And was fully settled AFTER the 'corporate government’ conformed to
the use of currency of the private corporation, the FEDERAL RESERVE. The
constitution is the law of the land and there can be no statutes or rule making
that would abrogate the constitution. The general principal is: anything that is
repugnant to or abrogates the constitution is null and void of law. Miranda v.
Arizona, 384 U.S. 436, (1966) "Where rights secured by the Constitution are
involved, there can be no rule making or legislation, which would abrogate
them." Marbury v. Madison, 5 US 137, (1803) "The Constitution of these
United States is the supreme law of the land. Any law that is repugnant to the
Constitution is null and void of law." "An officer of the court may be held

liable in damages to any person injured in consequence of a breach of any of

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the duties connected with his office...The liability for nonfeasance,
misfeasance, and for malfeasance in office is in his 'Individual Capacity’ , not
his official capacity..." see 70 Am. Jur. 2nd Sec. 50, VII Civil Liability "When
lawsuits are brought against federal officials, they must be brought against
them in their "individual" capacity not their official capacity. When federal
officials perpetrate constitutional torts, they do so ultra vires (beyond the
powers) and lose the shield of immunity." Williamson v. U.S. Department of
Agriculture, 815 F.2d. 369, ACLU Foundation v. Barr, 952 F.2d. 457, 293 U.S.
App. DC 101, (CA DC 1991). The same rule applies to state officials. CLAIM
OF TRUTH AND DEMAND FOR REMEDY Crimes have been committed
upon the man of trespass, personage, peonage, unlawful conversion, fraud,
barratry, bringing false charges under threats, duress, coercion, involuntary
servitude, evidence withheld from the grand jury, denial of evidence, denial of
character witnesses, lack of first hand witnesses, inadequate and incompetent
counsel who sit quietly rather than object, watching a innocent man railroaded,
prosecutor making false statements and never a rebuke, repudiate or refuted,
allowing of hearsay testimony, no lawful jury of peers, jury tampering by
instruction, these and many more crimes at the minimum have been taking
place. Railroaded by conspired parties sworn to the same oath without moral

regard to lady justice or compassion. All hearsay testimony done without

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sworn affidavits nor under any sworn oath of testimony of a first hand
witnesses (two co-berating) who is having first hand knowledge, against me.
All others are now hereby rebutted by me as hearsay. For this injustice | now
seek relief and remedy. Federal courts Purchase these case convictions from the
lower courts, and Federal Judges and prosecutors receive “net retention’s”

(nice way of saying commissions) from these convictions through the
submission of the online forms the Bid Bond sf273, Performance Bond sf274
and Payment Bond sf275, through the DOJ at the Department of Fiscal
Services website. The sample forms and spreadsheets clearly show this. This
incentivizes FRAUD to obtain and maintain high conviction rates. That’s not
Justice! No wonder evidence is withheld, witnesses not allowed, no true jury of
peers as defined in legal dictionaries such as Bouviers and Blacks Law. No
wonder policy and procedures of the court discourage justice. No wonder
hearsay evidence is allowed by prosecutors with no first hand witnesses under
sworn testimony or affidavits. No wonder why defense counsel is forced upon
aman. So a living man cannot object, refute, rebuke, repudiate, scream hearsay
at the top of his lungs, and stand firmly upon his rights, as a belligerent
claimant should. No, he is hushed by counsel, declared an incompetent, a ward
of state, unable to speak for oneself. Under duress and scare tactics talked in to

waiving his/her rights and admitting guilt in a plea deal under threats of longer

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sentences. Lied to about the sentencing, the parole. All from hiring an ACTOR
called the Attorney at BAR. Pretending he’s doing you a favor. IS HEREBY
FIRED FOR CAUSE Definition of Railroaded; is leading someone down a
narrow predetermined path to a predetermined outcome. Definition of
conspiracy; more than one railroading someone for profit. No wonder that the
ABA journal said; “No fact or truth shall be tried in court”. Where is the
REMEDY? Where is the JUSTICE? When a man in jail, has no access to a law
library, or a computer, or the internet, little access to a phone, to prepare his
appeal. When he has a public defender for 17 months and does not even know
it, no communication, not one phone call. When he finds out about this public
pretender by a law firm he hired to appeal and told they cannot help as he has a
attorney he neither hired nor even knew about? What then? Is this justice? Or is
it conscripted fraud by STATE? TRUST 63C Am. Jur. 2d, Public Officers and
Employees, §247: “As expressed otherwise, the powers delegated to a public
officer are held in trust for the people and are to be exercised in behalf of the
government or of all citizens who may need the intervention of the officer.
1. Furthermore, the view has been expressed that all public officers, within
whatever branch and whatever level of government, and whatever be their
private vocations, are trustees of the people, and accordingly labor under every

disability and prohibition imposed by law upon trustees relative to the making

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of personal financial gain from a discharge of their trusts.

2. That is, a public officer occupies a fiduciary relationship to the political
entity on whose behalf he or she serves.

3. In addition, owes a fiduciary duty to the public.

4. It has been said that the fiduciary responsibilities of a public officer cannot
be less than those of a private individual.

5. Furthermore, it has been stated that any enterprise undertaken by the public
official, which tends to weaken public confidence and undermine the sense of
security for individual rights is against public policy.

Will you honor the laws, rules, regulations, and operational requirements etc.
of this government? Above are not my words; they are words of the
government. It comes from their judicial bible. Also, know this... Slaves cannot
pay for anything, as all they have belongs to their master. Beneficiaries cannot
pay for anything, as that is the DUTY of the Trustee, who has a fiduciary duty
to discharge the requirements of the trust. When do we pay for something?
When we are dealing with people: not artificial entities, or public servants. The
government has no business in interfering in the private affairs of the people.
The government is doing its best to destroy any private affairs we might have.
CORPORATE AMERICA Some of you might think the government is not a

corporation. Below is a list and you ask yourself, then why did they file as a

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corporation? Feel free to check them out. Also, find out when they did this.
This is not all of them, a small list, to illustrate a point. Are governments,
corporations? Are corporations, governments? If a corporation, were a
government or government corporation, then a citizen of the government
would have to be an employee of the corporation. - Congress Can you be a
citizen of Wal-Mart? Can Wal-Mart arrest you? Can Wal-Mart send you to jail
or death row? Could Wal-Mart create your birth certificate, marriage license,
driver’s license, SS card. Or... Just place the authority in your by-laws and
create a sub-corporation to do it.

Examples;

* United Nations Order World Administration — Delaware Corporation File #
0942563

* United States of America Non-profit Organization #2193946

¢ United States Code Title 28, Part VI, Chapter 176, Subchapter A, § 3002; (15)
“United States” means, (A) a Federal corporation

* Federal Reserve Association Non-profit Religious Corporation #0042817

¢ Internal Revenue Tax And Audit Service, Inc Domestic General Corporation
#0325720

¢ Social Security Corporation for Profit Corporation #2213135

¢ Internal Revenue Service Representation, Inc. #2934047

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* Central Intelligence Authority, Inc CIA for profit Delaware Corporation
2004409

* Prentice-Hall corporation system, Inc. Foreign business Corporation #623745
¢ Central Oregon Bar Association, Inc State of Oregon 098774-16

¢ Oregon Chapter of the Federal Bar Association Domestic Non-profit
Corporation # 350083-90

* Oregon Chapter - National Bar Association Domestic Non-profit Corporation
# 272940-99

¢ United States of America vs. National Trust Co. Of Washington Domestic
Nonprofit Corporation #011855

* United States Corp. Co Private Placement for State of Oregon for profit
Oregon Corporation Foreign Business # 00531624 0053 16-24

¢ Union Bar Attorneys’ office or Agent, Closed shop for the prentice- Hall corp.
System, Inc. Private Corporation #0053 16-24

* Oregon Bar Association State of Oregon Corporation Domestic Non-profit
Corporation # 525465-96

¢ Oregon Chapter of the National Bar Association State of Oregon corporation
Domestic Non-profit Corporation # 575397-86

* Southern Oregon Federal Bar Association Domestic Non-profit Corporation #

656907-87

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OATHS Oaths of office: The Constitution for the United States of America;
Article 6 § 1 Clause 3 “The Senators and Representatives before mentioned,
and the Members of the several State Legislatures, and all executive and
judicial Officers, both of the United States and of the several States, shall be
bound by Oath or Affirmation, to support this Constitution;.” I ask, have they
done so? Article 2 §1 Clause 8 “I do solemnly swear (or affirm) that I will
faithfully execute the Office of President of the United States, and will to the
best of my Ability, preserve, protect and defend the Constitution of the United
States.” Title 5 § 3331. Oath of office An individual, except the President,
elected or appointed to an office of honor or profit in the civil service or
uniformed services, shall take the following oath: “I, AB, do solemnly swear
(or affirm) that I will support and defend the Constitution of the United States
against all enemies, foreign and domestic; that I will bear true faith and
allegiance to the same; that I take this obligation freely, without any mental
reservation or purpose of evasion; and that J will well and faithfully discharge
the duties of the office on which I am about to enter. So help me God.” Judges
have the Title 5 oath of office, Another one for Judges found in Title 28, § 453
says... Each justice or judge of the United States shall take the following oath
or affirmation before performing the duties of his office: “I, [NAME], do

solemnly swear (or affirm) that I will administer justice without respect to

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persons, and do equal right to the poor and to the rich, and that I will faithfully
and impartially discharge and perform all the duties incumbent upon me as
[OFFICER] under the Constitution and laws of the United States. So help me
God.” Government officials are to swear these oaths, people are not. Their
duties include: Protecting God given Rights of the people, Serving the people.
Establishing Freedom. Public office holders must also be bonded. Please pay
very close attention here and NOTE THE REQUIREMENTS OF THE LAW!
TITLE 5 U.S. Code Sec. 706. Scope of review To the extent necessary to
decision and when presented, the reviewing court shall decide all relevant
questions of law, interpret constitutional and statutory provisions, and
determine the meaning or applicability of the terms of an agency action. The
reviewing court shall--

(1) compel agency action unlawfully withheld or unreasonably delayed; and
(2) hold unlawful and set aside agency action, findings, and conclusions found
to be--

(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
with law;

(B) contrary to constitutional right, power, privilege, or immunity;

(C) in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right;

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(D) without observance of procedure required by law;

(E) unsupported by substantial evidence in a case subject to sections 556 and
557 of this title or otherwise reviewed on the record of an agency hearing
provided by statute; or
(F) unwarranted by the facts to the extent that the facts are subject to trial de
novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole
record or those parts of it cited by a party, and due account shall be taken of the
rule of prejudicial error. Under 42 U.S.C. § 1983, you may sue state or local
officials for the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” Under Bivens v. Six Unknown Named
Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue
federal officials for the violation of certain constitutional rights. ALL POWER
IS INHERENT IN THE PEOPLE FOR THEIR EXCLUSIVE USE ONLY OR

ON GRANT PERMISSION FROM THEM! Therefore: In the complete
absence of any Lawful and verified Oath or Affirmation made by a Non
participant Individual, to support any Constitution; or in the complete absence
of proving a Higher Title to that REAL FLESH. Known and Described as the
Non participant Individual Himself, In Personam Jurisdiction does not exist;

the Constitution only protects Non participants, and in the complete absence of

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proving a Lawful and voluntary contract made by Such Non participant,
pledging Himself and/or His Property- Rights to certain specified performance,
Subject Matter Jurisdiction does not exist; and in the complete absence of any
Lawful and verified complaint made against Such Non participant, wherein a
Real Injured Party Claims a Damage, no criminal Jurisdictions exist; thus in
the complete absence of proving the existence of either In Personam and or
Subject Matter Jurisdiction, governmental Jurisdiction over the Non participant
Individual does not exist. QUOD ERAT DEMONSTRANDUM! "If two or
more persons conspire to injure, oppress, threaten or intimidate any citizen in
the free exercise or enjoyment of any right or privilege secured to him by the
Constitution or laws of the United States, or because of his having so exercised
the same...they shall be fined not more than $10,000, or imprisoned not more
than 10 years, or both..." Title 18, United States Code, Section 241. "Whoever,
under color of any law, statute, ordinance, regulation or custom, willfully
subjects any inhabitant of any State, territory or district to the deprivation of
any rights, privileges or immunities secured or protected by the Constitution of
laws of the United States... shall be fined not more than $1,000 or imprisoned
not more than one year, or both..." Title 18, United States Code, Section 242.
The Constitution never provided THE PEOPLE with Rights that they did not

already possess prior to creation of this Instrument. LOSS OF JUDICIAL

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IMMUNITY It has also been well established that: When a judge knows that
he\she lacks jurisdiction, or acts in the face of clearly valid statutes expressly
depriving him\her of jurisdiction, judicial immunity is lost. Rankin v. Howard,
(1980) 633 F. 2d 844, cert den. Zeller v. Rankin, 101 S.Ct. 2020, 451 U.S. 939,
68 L.Ed 2d 326. "Where there is no jurisdiction, there can be no discretion, for
discretion is incident to jurisdiction." Piper v. Pearson, 2 Gray 120, cited in
Bradley v. Fisher, 13 Wall. 335, 20 L.Ed. 646 (1872) A judge must be acting
within his jurisdiction as to subject matter and person, to be entitled to
immunity from civil action for his acts. Davis v. Burris, 51 Ariz. 220, 75 P.2d
689 (1938) Generally, judges are immune from suit for judicial acts within or
in excess of their jurisdiction even if those acts have been done maliciously or
corruptly; the only exception being for acts done in the clear absence of all
jurisdiction. Gregory v. Thompson, 500 F2d 59 (C.A. Ariz. 1974) There is a
general rule that a ministerial officer who acts wrongfully, although in Page 87
of 99 good faith, is nevertheless liable in a civil action and cannot claim the
immunity of the sovereign. Cooper v. O'Conner, 99 F.2d 133 When a judicial
officer acts entirely without jurisdiction or without compliance with
jurisdiction requisites he may be held civilly liable for abuse of process even
though his act involved a decision made in good faith, that he had jurisdiction.

State use of Little v. U.S. Fidelity & Guaranty Co., 217 Miss. 576, 64 So. 2d

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697. "... the particular phraseology of the constitution of the United States
confirms and strengthens the principle, supposed to be essential to all written
constitutions, that a law repugnant to the constitution is void, and that courts, as
well as other departments, are bound by that instrument." Marbury v. Madison,
1 Cranch 137 (1803). "No judicial process, whatever form it may assume, can
have any lawful authority outside of the limits of the jurisdiction of the court or
judge by whom it is issued; and an attempt to enforce it beyond these
boundaries is nothing less than lawless violence." Ableman v. Booth, 21
Howard 506 (1859). "The courts are not bound by an officer's interpretation of
the law under which he presumes to act." Hoffsomer v. Hayes, 92 Okla 32, 227
F 417. ALL SEATS OF GOVERNMENT HAVE BEEN VACATED December
26, 1933 49 Statute 3097 Treaty Series 881 ( Convention on Rights and Duties
of States ) stated CONGRESS replaced STATUTES with international law,
placing all STATES under international law. December 9, 1945, the
International Organization Immunities Act relinquished every public office of
United States to the United Nations. 22 CFR 92.12-92.31 FR Heading "Foreign
Relationship" states that an oath is required to take office. Title 8 USC 1481
states once an oath of office is taken, citizenship is relinquished, thus one
becomes a foreign entity, agency, or state. That means every public office is a

foreign state, including all political subdivisions. (i.e. every single court is

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considered a separate foreign entity ). Title 22 USC ( Foreign relations and
Intercourse ) Chapter 11 identifies all public officials as foreign agents. Federal
Rules of Civil Procedure ( FRCP ) 4j states that the Court jurisdiction and
immunity fall under a foreign state. In Chisholm, the Justices of the Supreme
Court rejected Georgia’s claim to be sovereign. They concluded instead that, to
the ex-tent the term “sovereignty” is even appropriately applied to the newly
adopted Constitution, sovereignty rests with the people, rather than with state
governments. Furthermore, Wilson argued that the citizens of Georgia, when
they acted upon the large scale of the Union, as a part of the “People of the
United States,” did not surrender the Supreme or sovereign Power to that State;
but, as to the purposes of the Union, retained it to themselves. As to the
purposes of the Union, therefore, Georgia is NOT a sovereign State. In other
words, according to Justice Wilson, to the extent one wishes to use the word
“sovereignty” at all, sovereignty lies in the people themselves, not in any
government formed by the people. This is the principle that “laws derived from
the pure source of equality and justice must be founded on the CONSENT of
those, whose obedience they require. The sovereign, when traced to his source,
must be found in the man.” In other words, obedience must rest on the consent
of the only “sovereign” from which justice and equality rest: the individual

person who is asked to obey the law. Wilson believed that the only reason “a

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free man is bound by human laws, is, that he binds himself. “If one free man,
an original sovereign, may do all this; why may not an aggregate of free men, a
collection of original sovereigns, do this like- wise? If the dignity of each
singly is undiminished; the dignity of all jointly must be unimpaired.” From
this analysis Wilson reached the following conclusion about Georgia’s claim of
sovereign immunity against a suit for breach of contract: “A State, like a
merchant, makes a contract. A dishonest State, like a dishonest merchant,
willfully refuses to discharge it: The latter is amenable to a Court of Justice:
Upon general principles of right, shall the former when summoned to answer
the fair demands of its creditor, be permitted, proteus-like, to assume a new
appearance, and to insult him and justice, by declaring I am a Sovereign State?
Surely not. That Justice Wilson was the author of this opinion is significant.
James Wilson was as crucial a member of the Constitutional Convention as any
other, including James Madison.

"The doctrine of judicial immunity originated in early seventeenth-century
England in the jurisprudence of Sir Edward Coke. In two decisions, Floyd &
Barker and the Case of the Marshalsea, Lord Coke laid the foundation for the
doctrine of judicial immunity." Floyd & Barker, 77 Eng. Rep. 1305 (1607; The
Case of the Marshalsea, 77 Eng. Rep. 1027 (1612) were both cases right out of

the Star Chamber. Coke's reasoning for judicial immunity was presented in four

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public policy grounds:

1. Finality of judgment;

2. Maintenance of judicial independence;

3. Freedom from continual calumniations; and,

4. Respect and confidence in the judiciary. The Marshalsea presents a case
where Coke denied a judge immunity for presiding over a case in assumpsit.
Assumpsit is a common-law action for recovery of damages for breach of
contract. Coke then explained the operation of jurisdiction requirement for
immunity: "[W]hen a Court has

(a) jurisdiction of the cause, and proceeds iverso ordine or erroneously, there
the party who sues, or the officer or minister of the Court who executes the
precept or process of the Court, no action lies against them. But...

(b) when the Court has not jurisdiction of the cause, there the whole proceeding
is [before a person who is not a judge], and actions will lie against them
without any regard of the precept or process..." It's one big serpent isn't it ?
Definition of serpent - a large snake., a sly or treacherous person, especially
one who exploits a position of trust in order to betray it. Definition of serpent.
la archaic : a noxious creature that creeps, hisses, or stings. b : snake. 2 : devil
sense 1. 3 : a treacherous person. A serpent is a snake. ... Serpents have

represented qualities ranging from evil to fertility to poison throughout history,

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and even today the symbol of medicine is a staff entwined by a serpent. The
Latin root is serpentem, "creeping thing," from serpere, "to creep." A serpent is
a snake All deceptive and all tricks of the legal trade ... serpent like Extrinsic
Evidence: Extrinsic Fraud is commonly associated with Legal Malpractice in
that it happens in a means wherein your attorney merely engages in Willful
Suppression of critical Material Evidence.

Conspiracy: Many cases where your own attorney is actually decided to take
on your case with the Intention of actually Working In Concert with the
opposing party. Although that may seem like a heinous act and is all to

common and even widely accepted by the powers that govern their authority
such as the court staff, the State Bar and the sitting Judicial Officer. All
Members of the same union... The Conspiracy of the BAR Lady Justice is
hereby pronounced... DEAD

Claim of Damages The AUTHORITY FOR FINES (DAMAGES) CAUSED
BY CRIMES BY GOVERNMENT OFFICERS: PERPETRATORS
INCLUDING AUTHORIZING BODIES, CAPTAINS, CHIEFS,
SUPERVISORS, EMPLOYERS, AGENTS, CLERKS, ADMINISTRATORS,
JUDGES. These Damages, in part, were determined by GOVERNMENT itself
for the violation listed: Emoluments Violations — 18 U.S.C. §§§ 241, 242,

643, / 28 U.S.C. § 1927, / 29 U.S.C. § 1109 He has erected a multitude of New

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Offices, and sent hither swarms of Officers to harass our people, and eat out
their substance. EXECUTIVE ORDER 13818 ON HUMAN TRAFFICKING
(Public Law 114-328) section 212(f) 8 U.S.C. 1182(f), (INA), 3 U.S.C. section
301 28 U.S.C. §§ 1608, 1330 / Qui Tam 31 U.S. Code, § 3730(b),(c) Breach

Penalty Authority

VIOLATION OF OATH OF OFFICE $250,000.00 18 USC 3571, 28 USC 3002 (15) ARMED
ABUSE OF OFFICE $200,000.00

ARMED ABUSE OF AUTHORITY $200,000.00

ARMED USE OF EMERGENCY LIGHTING IN A NON-EMERGENCY $200,000.00 ARMED
USE OF EMERGENCY SIREN IN A NON-EMERGENCY $200,000.00 ARMED ASSAULT
AND BATTERY $200,000.00

ARMED THREAT OF VIOLENCE $200,000.00

ARMED COERCION $200,000.00

DENIED PROPER WARRANT(S) $250,000.00 18 USC 3571

DENIED RIGHT OF REASONABLE DEFENSE ARGUMENTS $250,000.00 18 USC 3571
DEFENSE EVIDENCE (RECORDS) $250,000.00 18 USC 3571

DENIED RIGHT TO TRUTH IN EVIDENCE $250,000.00 18 USC 3571

ARMED VIOLATION OF DUE PROCESS $200,000.00 SLAVERY (Forced Compliance to
contracts not held) $250,000.00 18 USC 3571

DENIED PROVISIONS IN THE CONSTITUTION $250,000.00 18 USC 3571

ARMED TREASON, WAR AGAINST AMERICANS $250,000.00 18 USC 3571

GENOCIDE AGAINST HUMANITY $1,000,000.00 18 USC 1091 APPARTIDE $1,000,000.00

ARMED DEPRIVATION OF RIGHTS UNDER COLOR OF LAW $200,000.00 18 USC 242

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EMOTIONAL DISTRESS $200,000.00 32 CFR 536.77(a)(3)(vii)

MENTAL ANGUISH ABUSE $200,000.00 42 CFR 488.301

PEONAGE (Felony) $200,000.00 18 USC 1581, 42 USC 1994

UNLAWFUL INCARCERATION $200,000.00

MALICIOUS PROSECUTION $200,000.00

DEFAMATION OF CHARACTER $200,000.00

SLANDER $200,000.00

LIBEL $200,000.00

ARMED TRESPASS $200,000.00

NEGLECT/FAILURE TO PROTECT/ACT $200,000.00 18 USC 1621, 42 USC 1986
ARMED GANG PRESSING $200,000.00

ARMED LAND PIRACY/PLUNDER $200,000.00

UNAUTHORIZED BOND PRODUCTION $200,000.00

ARMED FORGERY $200,000.00

ARMED EMBEZZLEMENT $200,000.00 TAX EVASION $?

ARMED STALKING $200,000.00

ARMED IMPERSONATING A PUBLIC OFFICIAL $200,000.00

ACTING AS AGENTS OF FOREIGN PRINCIPLES $200,000.00 18 USC 219
ARMED TORTURE $200,000.00

ARMED OPERATING STATUTES WITHOUT BOND $200,000.00
EXPLOITATION OF A LEGAL JUSTICE MINORITY GROUP BY BAR CLOSED UNION
COURTS- CIVIL RIGHTS $1,000,000.00

BAR VIOLATION OF ANTI-TRUST LAWS $200,000.00

FICTICIOUS CONVEYANCE OF LANGUAGE $200,000.00 Chap. 2b 78FF

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MISAPPROPRIATION OF TAXPAYER FUNDS $200,000.00 18 USC 641-664 VIOLATIONS
OF THE UNIVERSAL DECLARATION OF HUMAN RIGHTS ARMED BREACH OF TRUST
$200,000.00

ARMED DISTURBING THE PEACE $200,000.00

ARMED KIDNAPPING $200,000.00 18 USC 1201

ARMED MALFEASANCE/MALPRACTICE $200,000.00 22 CFR 13.3 ARMED
MISREPRESENTATION/PERSONAGE $200,000.00

MISPRISON OF FELONY $500.00 18 USC 4

ARMED CONSPIRACY AGAINST RIGHTS OF PEOPLE $200,000.00 18 USC 241
ARMED CRIMINAL EXTORTION/ ECONOMIC OPPRESSION $200,000.00 18 USC 141,
872, 25 CFR 11.417

ARMED EXTORTION OF RIGHTS $200,000.00 Title 15

ARMED ROBBERY $200,000.00

ARMED THEFT BY FORCED REGISTRATION $200,000.00

MAIL THREATS $5,000.00 18 USC 876

MAIL FRAUD $10,000.00 18 USC 1341

ARMED FRAUD $10,000.00 18 USC 1001

ARMED VIOLATION OF LIEBER CODE AGAINST NON-COMBATANTS $200,000.00
ARMED WRONGFUL ASSUMPTION OF STATUS/STANDING $200,000.00

ARMED FALSIFICATION OF DOCUMENTS/RECORD $10,000.00 18 USC 1001, 26 USC
7701(a)(1)

ARMED FICTITIOUS OBLIGATIONS $200,000.00 18 USC 514

ARMED PERJURY $2,000.00 18 USC 1621

ARMED SUBORDINATION OF PERJURY $2,000.00 18 USC 1622 To determine multiply no.

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of counts by damage
ARMED RACKETEERING (Criminal, Felony) $200,000.00 18 USC 1961-1968

ARMED RACKEREERING (Civil) $200,000.00 Wages Taken $x3= 18 USC 1964 (c) (Sustained

Damages [total] x3)

The lien debtors will be responsible for any IRS obligations resulting from the
discharge or cancellation of any debts, as well as earned income resulting from
accepted settlements. Dealing with claims of "Immunity" Any claim of
"Immunity" is a fraud because, if valid, it would prevent removal from office
for crimes against the people, which removal is authorized or mandated under
U.S. Constitution Article 2, Section IV; as well as 18 USC 241, 42 USC 1983,
1985, 1986, and other state Constitutions. Precedents of Law established by
Court cases, which are in violation of law, render violations of law legally
unassailable. Such a situation violates several specifically stated intents and
purposes of the Constitution set forth in the Preamble; to establish justice,
insure domestic tranquility, and secure the blessings of liberty. For JUDGES, or
anyone in any branch of government.

Conclusion "Mr. administrator, my bond is being used to fund these
proceedings. I wish to subrogate the case contract, eliminate the record, and
dismiss all charges with extreme prejudice." I wish to live a free inhabitant
upon the land. To be left alone. "I Pray to God, to direct this administrator of
this case contract to be dismissed with prejudice and the proceedings to be

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eliminated from the record and for the Prosecutor to pay me three times
damages for my harm suffered and inconvenience in bringing false charges."
(In addition to the STATE OF PENNSYLVANIA’s cost of $1440. Per DAY) If
he fails to do so, he is in Dishonor and you can ask the Bailiff to arrest him for
Gross Negligence and Fraud Upon the Court.

I, Pauline; Bauer, as Principal Creditor, and Beneficiary of the Cestui Que Vie
trust by Special Appearance only, do hereby appoint you judge and
administrator as trust fiduciary and command you to settle this matter. On my
knees before God, through his beloved Son, Jesus Christ, and the Holy Spirit, a
man, A servant of the Lord. Amen. Proceeding hereby and forever as Sui Juris,
a Non Representative, Non Agent, Non Personam, by all rights and all powers
as ordered by the 9th and 10th amendment of Bill of Rights and Bill of
Provisions by The United States of America Constitution. And in accord with
the supreme treaties listed in this document including the ICCPR. (1976)
Signed by United States 1993. As One of We the People, I, do hereby politely
and with honor, command you, our public servant to follow this Mandate
directive and Void Ab Initio. FOR CAUSE, STATUS, STANDING, FRAUD
and a lack of JURISDICTION. PER; 28 U.S. Code § 1746 - Unsworn

declarations under penalty of perjury (1) If executed without the United States:

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“YT declare {or certify, verify, or state} under penalty of perjury under the laws of
the United States of America that the foregoing is true and correct. Executed on
LOT h aug a a £ tus beg Ci I Od ot (date) Without prejudice, and without

recourse, |, hereby place my Autograph below

ff &

By - a ime dn £ 4 . LY ‘aA ALAS

UCC 1-308

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FURTHER tf SAYETH NOT. This document is now hereby publicly published
and piaced upon the record. You have 21 days to respond. This Affidavit un-
rebutted shall become the judgement. 1 will then publicly publish your

responses or your non responses. Notary as JURAT CERTIFICATE

On (it dos ef August 2021 __ date before me.

hina Coldswy YOu L __,a Notary Public, personally appeared Pauline:

a MSP VL A State of } WUE Rew County }

Bauer who proved to me on the basis of satisfactory evidence to be the woman
whose Name is subscribed to the within instrument and acknowledged to Me
that she executed the same in his authorized capacity, And that by his
antograas) a2 the westrexrent the woman executed, the instrument. | certify
under PENALTY OF PERSIURY under the Jawful laws of Pennsylvania State
and the STATE OF PENNSYLVANIA that the foregoing paragraph is true and

correct. W On my hand and officia! seal.
j Cex Qa PR Uplslor ctl sr serary / Jurat seal Notice to

Signature

wt pe
ammonwealth of Pennsylvania - Netety Seal
It OF 14 anion erraah, Wotary Public
McKean County
My rommiscion 2xpres December 1, 2022
| Conmussion number 1288865
“ember, Pernsyivania Association of Nolanes

 
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“Notice to Clerk” I, as one of we the people, hereby Mandate you to record this
Affidavit and I, Demand as one of we the people, that it be made available on
the “Court of Record” under the above referenced case #, so it is on the public
record and it may be found, and the fraud exposed and the record corrected,
until such time of my case dismissal and release. The minute you receive any
document, it is recorded according to the following case site. Biffle v. Morton
Rubber Indus., Inc., 785 S.W.2d 143, 144 (Tex.1990). “An instrument is
deemed in law filed at the time it is delivered to the clerk, regardless of
whether the instrument is “file-marked.” Should you refuse to record My
documents, once deposited with you, you are committing a crime under Title
18 USC § 2071 and it is punishable by fines and imprisonment. If your
attorney told you not to file any documents like mine, you are still responsible,
as I do not accept any third party interveners. Any attorney, district attorney, or
anyone from the lawyering craft are all third parties and do not have a license
to make a legal determination in this matter as they do not represent Me and

you, the county clerk, and do not have the authority to represent Me.

Title 18 USC — Crimes and Criminal Procedure Part I — Crimes Chapter 101 — Records
and Reports Section 2071 — Concealment, removal, or mutilation generally (a) Whoever willfully
and unlawfully conceals, removes, mutilates, obliterates, or destroys, or attempts to do so, or,

with intent to do so takes and carries away any record, proceeding, map, book, paper, document,

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or other thing, filed or deposited with any clerk or officer of any court of the United States, or in
any public office, or with any judicial or public officer of the United States, shall be fined under
this title or imprisoned not more than three years, or both. (b) Whoever, having the custody of
any such record, proceeding, map, book, document, paper, or other thing, willfully and
unlawfully conceals, removes, mutilates, obliterates, falsifies, or destroys the same, shal! be fined
under this title or imprisoned not more than three years, or both; and shall forfeit his office and be
disqualified from holding any office under the United States. As used in this subsection, the term
"office" does not include the office held by any person as a retired officer of the Armed Forces of
the United States. Revised Statutes of The United States, Ist session, 43 Congress 1873-
1874. Title LXX.---CRIMES.--- CH. 4. CRIMES AGAINST JUSTICE SEC. 5403. (Destroying,
&c., public records.) Every person who willfully destroys or attempts to destroy, or, with intent to
steal or destroy, takes and carries away any record, paper, or proceeding of a court of justice, filed
or deposited with any clerk or officer of such court, or any paper, or document, or record filed or
deposited in any public office, or with any judicial or public officer, shall, without reference to
the value of the record, paper, document, or proceeding so taken, pay a fine of not more than two
thousand dollars, or suffer imprisonment, at hard labor, not more than three years, or both: [See §
§ 5408, 5411, 5412.1] SEC. 5407. (Conspiracy to defeat enforcement of the laws.) If two or more
persons in any State or Territory conspire for the purpose of impeding, hindering, obstructing, or
defeating, in any manner, the due course of justice in any State or Territory, with intent to deny to
any citizen the equal protection of the laws, or to injure him or his property for lawfully
enforcing, or attempting to enforce, the right of any person, or class of persons, to the equal
protection of the laws, each of such persons shall be punished by a fine of not less than five
hundred nor more than five thousand dollars, or by imprisonment, with or without hard labor, not

less than six months nor more than six years, or by both such fine and imprisonment. See § §

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1977-1991, 2004-2010, 5506-5510.1 SEC. 5408. (Destroying record by officer in charge.) Every

officer, having the custody of any record, document, paper, or Proceeding specified in section
fifty-four hundred and three, who fraudulently takes away, or withdraws, or destroys any such
record, document, paper, or proceeding filed in his office or deposited with him or in his custody,
shall pay a fine of not more than two thousand dollars, or suffer imprisonment at hard labor not
more than three years, or both-, and shall, moreover, forfeit his office and be forever afterward

disqualified from holding any office under the Government of the United States.

1)The use of notary is for the explicit purpose of both a “Jurat Certificate” and
for “Identification”, and such use does not grant any "jurisdiction" to anyone
other than I, for or on my own behalf. definition/meaning of jurisdiction juris =

right law diction = words

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